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                          UNITED STATES DISTRICT COURT                                            Apr 20 2011
                          EASTERN DISTRICT OF LOUISIANA                                             7:00PM




In re: Oil Spill by the Oil Rig “Deepwater   :          MDL No. 2179
       Horizon” in the Gulf of Mexico, on    :
       April 20, 2010                        :          SECTION: J
                                             :
This Document Relates To: All Cases and No.  :          JUDGE BARBIER
      2:10-cv-2771 (In re The Complaint And  :          MAGISTRATE JUDGE SHUSHAN
      Petition Of Triton Asset Leasing GmbH, :
      et al.)                                :
…………………………………………………... :


 BP PARTIES’ COUNTER-COMPLAINT, CROSS-COMPLAINT AND THIRD PARTY
      COMPLAINT AGAINST TRANSOCEAN AND CLAIM IN LIMITATION

       Counter-, cross-, and/or Third-Party Plaintiffs BP Exploration & Production Inc.

(“BPXP”) and BP America Production Company (“BPAP”) (collectively, the “BP Parties”) bring

this action under Federal Rules of Civil Procedure 13 and 14 against Transocean Ltd.,

Transocean, Inc., Transocean Offshore Deepwater Drilling Inc., Transocean Deepwater Inc.,

Transocean Holdings LLC, and Triton Asset Leasing GmbH (collectively, “Transocean”). The

BP Parties further submit this Claim in Limitation pursuant to Federal Rule of Civil Procedure

Supplemental Rule F(5) in response to the Complaint for Exoneration from or Limitation of

Liability filed by Petitioners Triton Asset Leasing GmbH, Transocean Holdings LLC,

Transocean Offshore Deepwater Drilling, Inc., and Transocean Deepwater, Inc. in Case No.

2:10-cv-2771.

                                     INTRODUCTION

       1.       Transocean owned and operated the Deepwater Horizon, a mobile offshore

drilling unit or rig. On April 20, 2010, the Deepwater Horizon was in the process of completing

an exploratory drilling well in the Gulf of Mexico when it exploded and caught fire. Lives were

lost and people were injured. Two days later, on April 22, 2010, the vessel sank and from that
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point forward, until July 15, 2010, oil flowed out of the well and into the Gulf of Mexico. The

BP Parties bring this action to hold Transocean accountable for having caused the blowout,

explosion, fire, deaths and personal injuries, and subsequent oil spill. But for Transocean’s

improper conduct, errors, omissions, and violations of maritime law, there would not have been

any blowout of the exploratory well in Mississippi Canyon, Block 252 (“MC252,” commonly

referred to as the Macondo prospect). Nor, but for Transocean’s misconduct, would there have

been any explosion and fire on the Deepwater Horizon, or any deaths and personal injuries, or an

oil spill in the Gulf of Mexico. The simple fact is that on April 20, 2010, every single safety

system and device and well control procedure on the Deepwater Horizon failed, resulting in

the casualty. Accordingly, the BP Parties seek at least $40 billion in damages and contribution

from Transocean for the costs, expenses, injuries and damages that BP has incurred, continues to

incur, and will incur as a result of the Deepwater Horizon incident and oil spill caused by

Transocean’s multiple failures.

       2.      Transocean Offshore Deepwater Drilling Inc., Transocean Deepwater Inc.,

Transocean Holdings LLC, and Triton Asset Leasing GmbH (the “Transocean Deepwater

Horizon Companies”) have alleged that they are the Deepwater Horizon’s owners, managing

owners, owners pro hac vice, and/or operators. Each of these Transocean entities therefore is

directly liable for the improper conduct, errors, omissions, and violations of maritime law related

to the Deepwater Horizon. Transocean’s top level corporate entities, Transocean Ltd. and

Transocean Inc., dominate, control, or are otherwise the alter egos of the Transocean Deepwater

Horizon Companies. Transocean Ltd. and Transocean Inc. are also directly responsible for the

policies and practices that led to the MC252 well blowout.




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       3.      The BP Parties bring this Complaint and Claim in Limitation pursuant to this

Court’s Case Management Order No. 1 (“CMO 1”). The BP Parties acknowledge that BPAP

and Transocean Holdings LLC are parties to a Drilling Contract with an arbitration provision.

That arbitration provision does not apply here because, among other reasons, Transocean and

Transocean Holdings LLC through their conduct in these proceedings have waived any rights to

arbitrate any aspects of the disputes between the BP Parties and Transocean relating to the

Deepwater Horizon incident and resulting oil spill.

       4.      By filing this Complaint and Claim in Limitation, the BP Parties do not waive, but

instead expressly reserve, every objection or argument that the BP Parties’ claims are not subject

to Limitation of Liability pursuant to 46 U.S.C. § 30501, et seq., and/or Rule F of the

Supplemental Rules for Admiralty or Maritime Claims of the Federal Rules of Civil Procedure.

                                        THE PARTIES

       5.      BPXP is a Delaware corporation with its principal place of business at 501

Westlake Park Boulevard, Houston, Texas, 77079.

       6.      BPAP is a Delaware corporation with its principal place of business at 4101

Winfield Road, Warrenville, Illinois, 60555.

       7.      Transocean Offshore Deepwater Drilling Inc. is a Delaware corporation with its

principal place of business at 4 Greenway Plaza, Houston, Texas, 77046-0400.

       8.      Transocean Deepwater Inc. is a Delaware corporation with its principal place of

business at 4 Greenway Plaza, Suite 700, Houston, Texas, 77046-0400.

       9.      Transocean Holdings LLC is a Delaware limited liability company with its

principal place of business at 4 Greenway Plaza, Suite 700, Houston, Texas, 77046-0400.

       10.     Triton Asset Leasing GmbH is a Swiss Confederation limited liability company

with its principal place of business at Turmstrasse 30, CH-6300 Zug, Switzerland.


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       11.    Transocean Inc. is a Cayman Islands corporation with principal places of business

at 4 Greenway Plaza, Houston, Texas, 77046, and 70 Harbour Drive, Grand Cayman, Cayman

Islands, KY1-1003. Transocean Inc. is the direct or indirect parent of the Transocean Deepwater

Horizon Companies.

       12.    Transocean Ltd. is a Swiss Confederation corporation with its principal place of

business at Turmstrasse 30, CH-6300 Zug, Switzerland.         Transocean Ltd. owns 100% of

defendant Transocean Inc., and is the ultimate parent and controlling entity of the Transocean

Deepwater Horizon Companies.

                                       JURISDICTION

       13.    This action arises out of and in connection with drilling operations by the

Deepwater Horizon, a vessel. This Court has jurisdiction pursuant to 28 U.S.C. § 1333. The

claims presented in this Counter-Complaint, Cross-Complaint and Third-Party Complaint are

admiralty or maritime claims within the meaning of Rule 9(h) of the Federal Rules of Civil

Procedure, and the BP Parties designate this case as an admiralty or maritime case as provided in

that Rule.

       14.    In addition, the Transocean Deepwater Horizon Companies have filed a Rule

14(c) Third-Party Complaint against the BP Parties, among other defendants, tendering the third-

party defendants to the plaintiffs/claimants. This Court has jurisdiction over the Transocean

Deepwater Horizon Companies’ Rule 14(c) Third-Party Complaint pursuant to Rule 9(h) of the

Federal Rules of Civil Procedure and 28 U.S.C. § 1333. The BP Parties also are named as

defendants in admiralty, maritime and other complaints pending before this Court.

       15.    Venue is proper pursuant to 28 U.S.C. § 1391(b)-(c).




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       RULE 14(C) TENDER OF TRANSOCEAN LTD. AND TRANSOCEAN INC.

       16.    The Transocean Deepwater Horizon Companies have filed a Complaint and

Petition for Exoneration from or Limitation of Liability, Civil Action No. 10-2771 (“Limitation

Action”). Plaintiffs/Claimants have filed claims against the Transocean Deepwater Horizon

Companies in the Limitation Action. On February 18, 2011, the Transocean Deepwater Horizon

Companies filed a Rule 14(c) Third-Party Complaint against the BP Parties, among others, to

implead them into the Limitation Action and tender them to the Plaintiffs/Claimants.

       17.    Pursuant to Rule 14(c), and as part of their Third-Party Complaint, the BP Parties

implead Transocean Ltd. and Transocean Inc. and hereby tender them to the Plaintiffs/Claimants

in the Limitation Action.    Accordingly, Transocean Ltd. and Transocean Inc. must defend

against the Plaintiffs/Claimants’ claims, and the action proceeds as if the Plaintiffs/Claimants

had sued Transocean Ltd. and Transocean Inc. Fed. R. Civ. P. 14(c)(2). The BP Parties demand

judgment in the Plaintiffs/Claimants’ favor against Transocean Ltd. and Transocean Inc.

pursuant to Rule 14(c)(2) for the reasons alleged by Plaintiffs/Claimants against the Transocean

entities in the pleading bundles and complaints filed in MDL No. 2179 and the Limitation

Action. Such reasons include, but are not limited to, that Transocean Ltd. and Transocean Inc.

(as well as Transocean as a whole) were negligent in:

•      Failing to properly operate the Deepwater Horizon;

•      Operating the Deepwater Horizon in such a manner that explosions and a fire occurred
       onboard, causing it to sink and resulting in the oil spill in the Gulf of Mexico;

•      Failing to properly inspect the Deepwater Horizon to assure that its equipment and
       personnel were fit for their intended purposes;

•      Failing to properly assess the risk of failure of key safety and emergency equipment;

•      Acting in a careless and negligent manner without due regard for the safety of others;




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•      Failing to implement and enforce rules and regulations pertaining to the safe operations
       of the Deepwater Horizon which, if they had been so implemented and enforced, would
       have averted the blowout, explosions, fire, personal injuries, deaths, sinking, and spill;

•      Operating the Deepwater Horizon with untrained or insufficiently trained personnel;

•      Negligently hiring, retaining and/or training personnel;

•      Failing to take appropriate action to avoid or mitigate the incident;

•      Negligently implementing or failing to implement policies and procedures to safely
       conduct offshore operations in the Gulf of Mexico;

•      Failing to warn in a timely manner;

•      Failing to timely bring the well and oil release under control;

•      Failing to provide appropriate accident prevention equipment;

•      Failing to observe and read gauges that would have indicated excessive pressures in the
       well;

•      Failing to properly and timely control the well;

•      Failing to properly and timely activate emergency and safety equipment; and

•      Failing to react to danger signs.

       18.    The BP Parties also bring their own claims directly against Transocean Ltd. and

Transocean Inc., as well as the Transocean Deepwater Horizon Companies, as described in this

Complaint.

                            FACTS COMMON TO ALL CLAIMS

       19.    BPXP obtained a lease for Mississippi Canyon, Block 252, commonly known as

the Macondo prospect. BP, like other oil companies, contracts with and relies upon third parties

experienced and expert in the drilling and provision of other services and products for the

exploration, drilling, and development of deepwater wells. Pursuant to a Drilling Contract

between BPAP and Transocean Holdings LLC, Transocean was hired to drill the MC252 well

using the Deepwater Horizon mobile offshore drilling unit (“MODU”). Triton Asset Leasing



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GmbH, Transocean Holdings LLC, Transocean Offshore Deepwater Drilling Inc., and

Transocean Deepwater Inc. admit that they are the owners, managing owners, owners pro hac

vice, and/or operators of the Deepwater Horizon.

       A.     Transocean’s Duties And Obligations.

       20.    Transocean had numerous express obligations under the Drilling Contract,

including:

•      Transocean “shall be solely responsible for the operation of the Drilling Unit” and “shall
       act at all times as an independent contractor.”

•      Transocean “shall exercise due diligence to prevent the well from blowing out.”
       Transocean’s manuals specify that “Detection of a kick (intrusion of liquid or gas into the
       wellbore) is the responsibility of the Driller,” a Transocean employee, and that “It is the
       responsibility of the Driller (or person performing the Driller’s role) to shut-in the well as
       quickly as possible if a kick is indicated or suspected.”

•      Transocean was responsible for “maintain[ing] the Drilling Unit at optimal operating
       condition, in accordance with good oilfield practices through the duration of the
       Contract,” and “agree[d] to ensure that the Drilling Unit and all equipment and materials
       furnished by [Transocean] are adequately maintained and in such condition as to permit
       their continuous and efficient operation.”

•      Transocean “shall have the primary responsibility for the safety of all its operations, shall
       take all measures necessary or proper to protect the personnel and facilities and, in
       addition, shall observe all safety rules and regulations of any governmental agency
       having jurisdiction over operations conducted hereunder.”

•      Transocean “represents that all of [Transocean’s] personnel shall be fully qualified,
       trained, competent, able bodied and fit for their respective assignments and shall have
       complied with all necessary laws and regulations in connection therewith.”

•      Transocean “represents that during the Contract Period, the Drilling Unit is outfitted,
       conformed, and equipped to meet all applicable laws, rules, requirements, and regulations
       promulgated by the U.S. Coast Guard, the U.S. Environmental Protection Agency, the
       United States of America Department of the Interior as well as any other agency, bureau,
       or department of the U.S. federal, territorial possession, state, municipal, or local
       governments, any political subdivisions thereof, having jurisdiction over the operations in
       U.S. federal waters.”

       21.    The provisions of the Drilling Contract should have reflected the operational

realities onboard the Deepwater Horizon and Transocean’s duties under the law. For example,


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as a vessel owner, Transocean had non-delegable legal duties with respect to seaworthiness and

providing a properly trained crew and Captain.

       22.     Transocean also was required by law and contract to comply with certain

international conventions and codes. The Marshall Islands, the flag state of the Deepwater

Horizon, is a signatory to the International Convention for the Safety of Life at Sea, 1974

(“SOLAS”), and its flagged vessels must comply with SOLAS’s safety regulations. Exhibit B-1

of the Drilling Contract, which contains the specifications for the drilling unit, specifies that

SOLAS is an applicable rule and regulation for the rig.         SOLAS in turn incorporates the

International Safety Management Code (“ISM”) (2002), which sets forth requirements for safely

operating ships and preventing pollution.

       B.      Transocean’s Equipment And Maintenance Practices.

       23.     The Deepwater Horizon carried various appurtenances to drill subsea wells and to

protect the vessel during drilling. These included a blowout preventer (“BOP”), a specialized

assembly of valves, annular preventers, and ram preventers, that sits atop the well on the sea

floor and is used to monitor, seal, and control the well during drilling operations.         The

Deepwater Horizon’s BOP also was equipped with an Emergency Disconnect System (“EDS”),

which was supposed to activate the BOP’s blind shear rams and separate the rig from the riser

that connected it with the BOP, allowing the rig to seal the well and disconnect from it. The

BOP also had an automatic mode or “deadman” function that should have closed the BOP’s

blind shear rams, shearing the drill pipe and sealing the open hole, if hydraulic and electrical

power and communication with the rig were lost. This deadman function depended on two

identical, independent control pods (yellow and blue) having sufficient battery charge and

hydraulic fluid to activate the blind shear rams if the BOP lost connection with the rig.




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       24.     Other rig protection equipment included an alarm system that was supposed to

activate when gas was detected on the rig; the emergency shutdown system (“ESD”) designed to

cut off ventilation and electricity in areas where gas was detected; rig savers that should have

prevented gas flow to the engine control room and shut down the rig’s engines if combustible gas

was detected; and overspeed controls designed to shut down the engines when their rotational

speed significantly increased, preventing sparking that could ignite gas.

       25.     All of the Deepwater Horizon’s safety equipment depended on frequent,

competent, and quality maintenance for its operation.          The BOP in particular, because it

contained a number of complex and redundant hydraulic and electrical systems, required

extensive and diligent maintenance by Transocean and its contractors.

       26.     Audits and inspections of the Deepwater Horizon, and the investigations to date,

have discovered a number of problems with Transocean’s maintenance programs for the

Deepwater Horizon and its equipment. These audits and inspections as well as Transocean’s

maintenance problems provided Transocean with actual knowledge of the problems related to the

Deepwater Horizon’s equipment and maintenance.

       27.     These problems included Transocean’s failure to perform necessary and

appropriate BOP inspections.1        Transocean’s own deficient inspection and maintenance

practices, of which Transocean had actual knowledge, caused the Deepwater Horizon’s BOP to

have numerous leaks that impaired its functions. Transocean also made various unauthorized

(and, in many cases, undocumented) modifications to the BOP, or failed to properly perform




1
  The BP Parties understand that Cameron International Corporation (“Cameron”) conducted certain
maintenance on or modifications to the BOP at Transocean’s request. Thus, all allegations in this
Complaint concerning maintenance of or modifications to the BOP are made either directly or vicariously
against Transocean, which was responsible for the BOP.


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approved modifications. In addition to the BOP, various other critical systems on the Deepwater

Horizon also experienced problems because of Transocean’s maintenance practices.

       C.        Transocean’s Captain And Crew.

       28.       Transocean’s training and organization of the Deepwater Horizon’s captain and

crew was plainly inadequate. Under maritime law, SOLAS, and the ISM, a vessel’s captain (also

known as the master) should have ultimate decision-making authority and responsibility over the

vessel at all times.    Yet, for the Deepwater Horizon (and apparently other rigs as well),

Transocean divided authority between the captain and the offshore installation manager (“OIM”)

as a matter of corporate policy. Transocean policies designated the OIM as the person-in-charge

when the vessel was in drilling mode, sowing confusion as to who was the ultimate commander

of the vessel.

       29.       Concerns about Transocean’s drilling rig crew are not limited to the Captain.

Prior to April 20, 2010, Transocean’s management has acknowledged that it was diluting its

crews, leading to close calls that put rigs and their crews in danger. Indeed, just a few months

before the Deepwater Horizon incident, a Transocean rig drilling the Shell 711 well in the North

Sea suffered a blowout whose pattern and loss of well control was strikingly similar to what

would occur a short time later to the Deepwater Horizon.

       30.       Audits of the Deepwater Horizon confirmed that it experienced high crew

turnover. Interviews by an outside consultant reviewed by Transocean management revealed

that many supervisors were concerned over the crew’s ability to identify hazards and understand

the relevant risks.    This concern increased after March 8, 2010, when the MC252 well

experienced a kick that went unidentified by the Transocean drilling crew for approximately 33

minutes.




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        D.     Transocean’s Errors And The Deepwater Horizon’s Unseaworthiness Caused
               The April 20 Blowout, Explosion And Fire, As Well As The Tragic Deaths,
               Personal Injuries, And Resulting Oil Spill.

        31.    On April 20, 2010, Transocean’s Deepwater Horizon was executing a temporary

abandonment procedure on the MC252 well, which involved capping the well so that offshore oil

and gas production could begin at a later date. As part of this process, the crew installed casing

— a large diameter pipe — that reached to the bottom of the wellbore. A contractor (Halliburton

Energy Services, Inc.) then cemented the casing to the wellbore. In addition to casing and

cementing, Transocean and other contractors removed from the wellbore dense drilling fluid or

“mud” used to contain hydrocarbons such as oil and gas during drilling procedures. When the

kick began on April 20, Transocean’s drillers and other crew members were in the process of

removing this drilling fluid and displacing it with seawater.

               1.      Transocean Failed To Identify And React To Warning Signs That
                       The Well Was Flowing.

        32.    On April 20, 2010, from approximately 20:00 until the incident began,

Transocean’s drilling crew was displacing drilling fluid with seawater. Although the explosion

on the Deepwater Horizon occurred at approximately 21:49, clear and obvious warnings of a

well control incident had begun almost an hour earlier.

        33.    To fulfill his duties in monitoring the well to detect kicks and to shut in the well

when necessary, the Deepwater Horizon driller typically ran three data screens in the driller

cabin. The screens would have displayed, among other things, the drill pipe pressure and the

volume of drilling fluids. Transocean’s drillers could (and should) be able to identify a kick in a

well by monitoring the flow of drilling fluids into and out of the well, and the pressure on the

drill pipe.




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       34.     At approximately 20:52 hydrocarbons began flowing into the wellbore. The first

indications of a kick occurred between 20:58 and 20:59, when the flow out of the well nearly

doubled while the flow into the well decreased—a standard indication of a kick. A few minutes

later, at 21:01, the drill pipe pressure increased from 1250 psi to 1350 psi while the pump rate

remained constant. This occurred while mud was being removed from the wellbore and replaced

with lighter seawater, which should have resulted in a decrease in pressure, not the increase that

went undetected. Over the next half hour, high drill pipe pressure and flow out of the well

continued to indicate a kick. Notwithstanding these clear kick indications, Transocean did

nothing.

       35.     Gas did not pass from the well into the riser until approximately 21:38 — 46

minutes after the well began flowing and long after indications of flow should have been

apparent to Transocean. If Transocean had closed the BOP around the drill pipe at any time

before 21:38 — and if Transocean’s poorly maintained BOP had shut in the well — the flow of

hydrocarbons into the riser would have been eliminated.

       36.     But without any well control action taken by Transocean, by 21:38 hydrocarbons

had headed up the riser and onto the rig. At 21:40, the expanding gas pushed out drilling fluid

and spewed mud onto the rig floor.       One minute later, mud shot through the Deepwater

Horizon’s derrick.

       37.     At 21:41, Transocean took its first well control action, apparently attempting to

close the lower annular preventer. This was over forty minutes after the initial indications that

the well was flowing. Transocean’s failure to identify the kick during this period resulted from

its inadequate policies and training, and led directly to gas reaching and then flowing onto the

rig.




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               2.     Transocean Failed To Properly Monitor The Well To Detect Whether
                      It Was Flowing.

       38.     Transocean’s failure to monitor the “mud pits” also is likely to have contributed

to its failure to recognize that a kick was in progress (though the changes in drill pipe pressure

and flow in versus flow out each gave clear, sufficient indications of a kick). The amount of

return and loss of drilling fluids is a key indicator of well integrity. Upon being displaced from

the well, these fluids are discharged into mud pits. Comparing changes in pit volumes to

seawater volume pumped into the well is one way to determine whether the well was

experiencing a kick during displacement. Any discrepancy in the two volumes could indicate

that the well was flowing.

       39.     Transocean failed to monitor the return and loss of drilling fluids from the well.

Instead, it transferred mud to another vessel without measuring its volume and discharged

drilling fluids directly overboard. These procedures prevented Transocean and other contractors

upon whom the BP Parties relied to accurately measure the volume of pit gains and thus removed

another data set, in addition to drill pipe pressure and flow in versus flow out, that would have

shown that a kick was in progress.

               3.     Transocean’s Belated Well Control Actions Dispersed Gas Onto The
                      Rig, Causing The Explosions.

       40.     Even with gas coming up through the riser, the blowout still could have been

controlled by a properly trained crew. But Transocean’s manuals do not address or explain to its

crews how to handle a continuous and uncontrolled flow of gas from a well. As a consequence,

and due to a lack of training, Transocean’s crew used the wrong equipment at the wrong times to

attempt to control the blowout.

       41.     The Deepwater Horizon was equipped with a diverter system that provided two

alternate paths for gas or gas-bearing mud reaching the rig from the well. The first path was


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through the mud-gas separator (“MGS”), which is designed to remove gas from relatively small

quantities of mud. The second diverter path sends flow directly overboard through two 14-inch

pipes, one starboard and one portside.

        42.     The obvious question is which path—the MGS or overboard diverters—should be

used when mud and hydrocarbons are proceeding up the riser to the rig. Transocean’s shut-in

protocols do not fully address or explain how to respond to high flow emergency situations, and,

in fact, provide contradictory instructions. On the night of April 20, 2010, the drilling crew

chose to use the MGS, which was almost immediately overwhelmed, causing gas to spray onto

the center of the rig rather than over the side of the vessel through the diverters.

        43.     Transocean’s protocols also do not fully address or explain how to respond to a

loss of well control. There are no instructions on how to handle continuous well flow, such as by

closing the BOP’s blind shear rams. Nor is there any mention of whether or when to activate the

EDS in response to a well control emergency.

        44.     On April 20, 2010, Transocean’s attempts to activate the BOP came far too late to

successfully shut in the well. Transocean’s crew did not attempt to activate the BOP until 21:41,

when they triggered the BOP’s annular preventer. The lower annular apparently failed to seal

until approximately five minutes later, at 21:47. During this time, highly combustible gas

continued to spew onto the rig.2

                4.      The Deepwater Horizon’s ESD, Rig Savers, And Overspeed Controls
                        Failed.

        45.     Because of Transocean’s decision to use the MGS rather than the overboard

diverter, gas quickly covered the rig. Although the Deepwater Horizon had multiple safety


2
  In addition to activating the annular preventer, Transocean’s drilling crew may have belatedly attempted
to activate one or more of the variable bore rams at approximately 21:46. While it is possible that these
rams may have temporarily sealed the well, they did not shut it in.


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devices designed to prevent that gas from igniting, these devices—some of which had

malfunctioned before and all of which were subjected to Transocean’s poor maintenance

practices—failed when they were needed most.          Transocean had actual knowledge of the

inadequate maintenance on these safety devices from audits and inspections.

       46.       The first such device was the rig’s emergency shutdown system (“ESD”), which

should cut off ventilation and electricity in areas where gas is detected. But on April 20, 2010,

Transocean’s ESD safety systems failed to prevent gas from reaching the rig’s engine spaces.

       47.       The next safety device was the rig savers, which should have prevented gas flow

to the engine spaces and tripped or shut down the engines if combustible gas was detected. The

rig savers failed to function on April 20, 2010 when gas from the well entered the engine spaces.

       48.       The Deepwater Horizon’s engines themselves had yet another safety device that

failed. Engines 3 and 6, which were on-line at the time of the incident, were equipped with two

independent sets of overspeed controls designed to shut down the engines when their rotational

speed significantly increased. These devices should have prevented the engines from igniting

any gas reaching the rig. But on April 20, 2010, the overspeed controls failed when gas from the

blowout reached the engines, causing them to overspeed significantly and trigger the explosions

on the vessel.

                 5.     The Rig’s Power Generators Failed To Operate After The Explosion,
                        Rendering The Vessel And Its Crew Helpless.

       49.       Engines supplied all of the electrical power to the Deepwater Horizon, including

to the rig’s six primary generators. These primary generators shut down after the first explosion,

when engine 3 likely blew up. Yet none of the other primary generators started up, leaving the

vessel dead in the water and without power. Three Transocean crew members attempted to start

the vessel’s backup generator, which was necessary to power the rig’s emergency and



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firefighting equipment, but that generator also would not start.        This rendered the rig’s

firefighting systems inoperable, as the lack of power disabled the electric pump that drives the

watering system. Although the three crew members who attempted to start the vessel’s backup

generator did their best, they had not been trained by Transocean in how to start the vessel’s

backup generator.

               6.      Transocean’s Divided Command Structure, Combined With The
                       Failures Of Its Captain, Compounded The Effects Of The Casualty.

       50.     Transocean’s split command led to confusion during the well control incident.

Who was in charge of the vessel was unclear. When disaster struck on the evening of April 20,

2010, neither the Deepwater Horizon’s Captain nor its OIM gave clear orders to crew members

and passengers.     Instead, following the explosions, the crew scattered throughout the rig.

Transocean’s Captain — who by law should have been in control of the vessel — never took the

measures necessary to secure the vessel or the well.         The Captain’s actions (and, more

importantly, his inactions) demonstrate that he underestimated the severity of the incident, even

after the emergency was obvious to everyone else.

               7.      Transocean And Its Captain Erred In Delaying To Activate The
                       Blowout Preventer and EDS.

       51.     Transocean’s Captain inexplicably delayed when it came to the vessel’s ultimate

safety device: the EDS. Transocean personnel on the bridge — particularly the Captain — could

and should have taken decisive action to save the vessel and shut in the well by immediately

activating the EDS. Instead, the Captain delayed ordering that the EDS be triggered until several

minutes after the explosion, when it was too late. Even then, the Captain did not order activation

of the EDS until he had first conferred with the OIM. In the meantime, in the midst of the

emergency and before the OIM arrived on the bridge following the explosions, the Captain

expressly forbade the crew from activating the EDS. Transocean’s inadequate training of the


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Captain and failure to identify when the EDS should be operated in well control situations

caused these errors.

               8.      Transocean’s EDS And Blowout Preventer Malfunctioned, Failing To
                       Shut In The Well.

       52.     When Transocean finally activated the EDS and BOP, these safety devices failed.

Given the loss of control over the BOP, its deadman functionality should have automatically

activated, closing the blind shear rams, shearing the drill pipe, and sealing the open hole. But

despite the rig losing control of the BOP, the deadman failed to operate.

       53.     Investigation after the casualty revealed that, of the two independent control pods

on the BOP, a valve in one did not function when tested and the battery in the other was

insufficiently charged to activate the deadman. A number of different leaks in the BOP pods

also were identified, which may also have compromised their ability to generate sufficient

hydraulic power to activate the BOP.

               9.      Transocean’s Uncoordinated Fire-Fighting Attempts Allowed The Rig
                       To Burn For Over 36 Hours And Then Sink Into The Gulf of Mexico.

       54.     After the Deepwater Horizon was set ablaze on April 20, 2010, Transocean not

only failed to undertake its own fire-fighting efforts onboard the vessel, but also abdicated its

responsibility to coordinate efforts of the response vessels that arrived on the scene shortly after

the explosions. As a result, the Deepwater Horizon burned for over thirty-six hours before

sinking into the Gulf of Mexico.

       E.      The Claims, Lawsuits, And Expenses Asserted Against BP As Result Of The
               Deepwater Horizon Incident.

       55.     Because of Transocean’s misconduct and multiple errors, both before, on and

after April 20, 2010, oil and gas flowed from the MC252 well into the Gulf of Mexico until July

15, 2010, when BP sealed the well. The scale of BP’s response program was massive and



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unprecedented. Under the dictates of and as required by the Oil Pollution Act of 1990, 33 U.S.C.

§ 2701, et seq. (“OPA”), BP has committed to paying all legitimate claims for damages pursuant

to the requirements and terms of OPA, while reserving its right to seek reimbursement,

contribution, and indemnification from Transocean and other responsible parties. Because of

Transocean’s conduct, BP faces hundreds of lawsuits and thousands of claims arising out of the

Deepwater Horizon incident.

       56.     The total amounts that will ultimately be paid by BP under OPA or otherwise in

relation to the incident are subject to significant uncertainty. The ultimate exposure and cost to

BP will depend on many factors, including the amount of claims that become payable by BP, the

amount of fines ultimately levied against BP (including any determination of negligence by BP),

the outcome of lawsuits and claims, and any costs arising from any longer-term environmental

consequences of the oil spill.

       57.     As of the end of 2010, BP’s incurred costs relating to the incident were $17.7

billion. BP’s group income statement for 2010 reflects a pre-tax charge of $40.9 billion in

relation to the Gulf of Mexico oil spill.

       F.      Transocean’s Domination And Control Of Its Corporate Subsidiaries.

       58.     Transocean Ltd. is the holding company of an international group of companies

involved in offshore contract drilling services for oil and gas wells, oil and gas drilling

management services, drilling engineering services and drilling project management services,

and oil and gas exploration and production activities. Transocean Ltd. conducts its business

through a tightly controlled labyrinth of subsidiaries and related entities owned by Transocean

Ltd. in whole or in significant part, and through joint ventures with other entities. Transocean

Ltd. has no assets or operations independent from its wholly owned subsidiary Transocean Inc.

Transocean Inc. itself holds interests in a variety of Transocean operating companies, and is the


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direct or indirect parent company of defendants Transocean Offshore Deepwater Drilling Inc.

and Triton Asset Leasing GmbH. Transocean Offshore Deepwater Drilling Inc., in turn, is the

direct corporate parent of defendants Transocean Deepwater Inc. and Transocean Holdings LLC.

        59.     Transocean Ltd., Transocean Inc. and other parent Transocean entities exercised,

directly or indirectly, complete control over the various Transocean subsidiaries, including the

Transocean Deepwater Horizon Companies. Together, the Transocean entities operated as a de

facto single economic enterprise and the affairs of the junior subsidiaries were conducted for the

sole benefit of their direct or indirect corporate owners.

        60.     Corporate formalities are on the whole not observed and/or are moot given the

senior entities’ direct or indirect control over the selection of and leverage over the officers and

directors of their subsidiaries.

        61.     On information and belief, Transocean subsidiaries were owned and controlled by

and for the benefit of their corporate owners in various ways, including but not limited to the

following:

•       common or overlapping stock ownership;

•       de facto control and leverage over the selection of the Transocean subsidiaries’ officers
        and directors, which overlapped with the officers and directors of other Transocean
        entities;

•       common and/or de facto ownership of significant assets such as, for example, the
        Deepwater Horizon (in which four of the defendants claim an interest, for purposes of
        limiting their liability, as “Owner, Managing Owners, Owners Pro Hac Vice, and/or
        Operators”);

•       formal or informal agreements under which one Transocean entity pays the wages and
        salaries of Transocean employees working on or in connection with an asset owned by
        another entity;

•       shared facilities and services pursuant to formal or informal agreements;




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•       common or consolidated financial and shareholder reporting and income tax and
        securities filings, which deceive the public about the true financial condition of the
        various Transocean entities, individually and collectively;

•       formal or informal agreements under which significant business decisions could not be
        made without consultation with and/or approval of the corporate parent, either directly or
        indirectly;

•       formal and informal intracorporate loans;

•       intermingled daily operations and treating property of the junior subsidiaries as the
        property of their owners;

•       providing the sole or a significant source of the subsidiaries’ financing; and

•       company-wide policies relating to the operation and maintenance of drilling rigs and the
        training and performance of their crews.

        62.    On information and belief, junior Transocean subsidiaries had unreasonably small

capital relative to the significant risk of their various operations, which prejudiced the entities’

creditors, including those injured by the subsidiaries’ operations and those to which the

subsidiaries owe indemnity and/or contribution obligations.

        63.    Transocean entities intentionally represented the independence of their direct or

indirect subsidiaries, which had in effect no independent existence. An adherence to the fiction

of separate identity would serve only to defeat justice and equity by permitting the Transocean

entities to escape liability arising out of operations conducted for the benefit of the senior entities

or the collective economic enterprise.

                  THE BP PARTIES’ CLAIMS AGAINST TRANSOCEAN

                             CLAIM I: BREACH OF CONTRACT

        64.    The BP Parties reallege and incorporate by reference each and every allegation set

forth in all preceding paragraphs as if fully restated here.

        65.    The Drilling Contract is a valid and enforceable contract.

        66.    BPAP has substantially performed its obligations under the Drilling Contract.


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        67.    The Drilling Contract imposes a series of duties on Transocean Holdings LLC.

The Drilling Contract requires that Transocean Holdings LLC:

•       “shall maintain well control equipment in accordance with good oilfield practices at all
        times and shall use all reasonable means to control and prevent fire and blowouts . . . .”
        Drilling Contract ¶ 15.2.

•       “exercise due diligence to prevent the well from blowing out, and to enable the efficient
        drilling, logging, and testing of all formations without caving or formation
        contamination.” Id. ¶ 15.6.

•       “shall take all measures necessary or proper to protect the personnel and facilities.” Id.
        ¶ 17.1.

•       “shall place the highest priority on safety while performing the work.” Id.

•       “shall observe all of [BP’s] safety rules and guidelines . . . and the requirements
        contained in Exhibit D.” Id.

•       represent that its personnel “shall be fully qualified, trained, competent, able bodied and
        fit for their respective assignments and shall have complied with all necessary laws and
        regulations in connection therewith.” Id. ¶ 3.1.4.

•       “maintain the Drilling Unit at optimal operating condition, in accordance with good
        oilfield practices through the duration of the Contract.” Id. ¶ 14.1.

•       represent that “it will diligently perform the Work in a good workmanlike manner
        consistent with applicable industry standards and practices, … it will use sound technical
        principles where applicable, [and] … it will perform the Work in compliance with this
        Contract.” Id. ¶ 14.1.1.

•       “represent[] that during the Contract Period, the Drilling Unit is outfitted, conformed, and
        equipped to meet all applicable laws, rules, requirements, and regulations promulgated by
        the U.S. Coast Guard, the U.S. Environmental Protection Agency, the United States of
        America Department of the Interior as well as any other agency, bureau, or department of
        the U.S. federal, territorial possession, state, municipal, or local governments, any
        political subdivisions thereof, having jurisdiction over the operations in U.S. federal
        waters.” Id. ¶ 14.5.

•       shall comply with SOLAS, including the ISM. Id. Ex. B-1 at 6.

        68.    Transocean materially breached its contractual duties in its actions and inactions

leading to the loss of well control, the explosion, and the loss of life and injuries onboard the




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Deepwater Horizon, as well as the resulting oil spill. Specifically, Transocean breached its

contractual duties by the following acts and omissions, among others:

•       Transocean did not adequately maintain the Deepwater Horizon and persistently delayed
        maintenance on the vessel.

•       Transocean did not properly maintain the BOP.

•       Transocean failed to conduct appropriate inspections of the BOP.

•       Transocean had prior failures of the engine overspeed controls, which were not properly
        fixed.

•       Because of Transocean’s poor maintenance, the rig savers on the vessel failed to function
        to shut down the engines.

•       After the explosion and the on-line primary generators shut down, other generators failed
        to function.

•       Transocean made numerous unapproved (and, in many cases, undocumented) changes to
        the BOP.

•       Authority for the vessel was improperly and unlawfully divided between Transocean’s
        Captain and OIM.

•       Transocean’s Captain was not trained to use the rig’s EDS, the vessel’s ultimate safety
        device.

•       The actions and inactions of Transocean’s Captain showed that he underestimated the
        severity of the incident.

•       Transocean had diluted its crews on the rigs and had experienced high levels of turnover.

•       Transocean failed to properly coordinate efforts to fight the fires on board the Deepwater
        Horizon from April 20 to 22, 2010.

•       Transocean failed to provide a seaworthy vessel, and also failed to provide proper
        training and a well-trained crew for the Deepwater Horizon.

•       Before the well blew out on April 20, 2010, Transocean frustrated a safety check by
        transferring to another vessel drilling fluid displaced from the well and by discharging
        drilling fluids directly overboard.

•       Transocean failed to properly train its drilling crews in how to handle blowouts.




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•       Transocean’s drilling crew failed to promptly identify and address the kick that caused
        the incident.

As investigations into the incident continue, and once the BP Parties obtain discovery from

Transocean, the BP Parties believe that the evidence may support additional breaches of the

Drilling Contract. In general, Transocean repeatedly breached the Drilling Contract in multiple,

material ways—all leading to the casualty and injuries which took place on and after April 20,

2010.

        69.    These obligations and breaches apply to Transocean as a whole because

Transocean Ltd., Transocean Inc. and other parent Transocean entities exercised, directly or

indirectly, complete control over the various Transocean subsidiaries, including the Transocean

Deepwater Horizon Companies, and issued and/or enforced various policies and practices

applicable to the Deepwater Horizon.

        70.    Transocean’s breach of its contractual duties has directly and proximately caused

harm, loss, injuries, and damages to the BP Parties—as well as the harm, loss, injuries and

damages to others.

                              CLAIM II: UNSEAWORTHINESS

        71.    The BP Parties reallege and incorporate by reference each and every allegation set

forth in all preceding paragraphs as if fully restated here.

        72.    Respondents Triton Asset Leasing GmbH, Transocean Holdings LLC, Transocean

Offshore Deepwater Drilling Inc., and Transocean Deepwater Inc., as the owner and/or operators

of the Deepwater Horizon vessel, owed the BP Parties the duty to maintain the vessel in a

seaworthy condition. This duty requires that Transocean provide a vessel that is staunch and

strong, fitted out with all proper equipment and in good order, and that carries a sufficient and

competent crew and complement of officers. A vessel owner’s obligation to supply a seaworthy



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vessel extends to the vessel’s appurtenances, including but not limited to the BOP, as well as the

captain and crew of the vessel.

       73.     Transocean breached its duties to supply a seaworthy vessel.          Specifically,

Transocean breached its duties by the acts and omissions listed in the preceding paragraphs,

including but not limited to Paragraphs 23-54 and 68. As investigations into the incident

continue, and once the BP Parties obtain discovery from Transocean, the BP Parties believe that

the evidence is likely to provide additional examples of the Deepwater Horizon’s

unseaworthiness. In general, Transocean caused the Deepwater Horizon to be unseaworthy in

multiple, material ways—all leading to the casualty and injuries which took place on and after

April 20, 2010.

       74.     These obligations and breaches apply to Transocean as a whole because

Transocean Ltd., Transocean Inc. and other parent Transocean entities exercised, directly or

indirectly, complete control over the various Transocean subsidiaries, including the Transocean

Deepwater Horizon Companies, and issued and/or enforced various policies and practices

applicable to the Deepwater Horizon.

       75.     The Deepwater Horizon’s unseaworthiness has directly and proximately caused

harm, loss, injuries, and damages to the BP Parties—as well as the harm, loss, injuries and

damages to others.

 CLAIM III: NEGLIGENCE—DEVIATIONS FROM STANDARD OF CARE AND/OR
                      LAWS AND REGULATIONS

       76.     The BP Parties reallege and incorporate by reference each and every allegation set

forth in all preceding paragraphs as if fully restated here.




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        77.    Transocean owed the BP Parties various duties to use reasonable care related to

the Deepwater Horizon vessel. These included, though are not limited to, the duty to use

reasonable care in:

•       Operating the Deepwater Horizon rig and drilling wells;

•       Maintaining and repairing the vessel;

•       Maintaining and repairing the appurtenances of the vessel, including the BOP;

•       Not making modifications to the BOP that would impair its functions;

•       Properly and promptly operating the BOP;

•       Responding to kicks encountered while operating the vessel;

•       Preventing blowouts;

•       Safely operating the vessel;

•       Properly maintaining and using all safety equipment on board the vessel;

•       Providing a competent and qualified crew;

•       Providing proper and necessary training to the crew and Captain of the vessel;

•       Properly maintaining the vessel;

•       Providing proper well monitoring and well control training;

•       Providing a seaworthy vessel and crew; and

•       Complying with SOLAS, including the ISM.

        78.    Transocean breached these duties of care and acted with negligence, or gross

negligence and/or gross fault as may be established at trial based upon the evidence.

Specifically, Transocean breached its duties by the acts and omissions listed in the preceding

paragraphs, including but not limited to Paragraphs 23-54 and 68. As investigations into the

incident continue, and once the BP Parties obtain discovery from Transocean, the BP Parties

believe that the evidence is likely to provide additional examples of Transocean’s negligent acts



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and omissions by Transocean. In general, Transocean acted with negligence, or gross negligence

and/or gross fault as may be established at trial based upon the evidence, in multiple, material

ways—all leading to the casualty and injuries which took place on and after April 20, 2010.

       79.     These obligations and breaches apply to Transocean as a whole because

Transocean Ltd., Transocean Inc. and other parent Transocean entities exercised, directly or

indirectly, complete control over the various Transocean subsidiaries, including the Transocean

Deepwater Horizon Companies, and issued and/or enforced various policies and practices

applicable to the Deepwater Horizon.

       80.     Transocean’s negligence, or gross negligence and/or gross fault as may be

established at trial based upon the evidence, in operating the Deepwater Horizon has directly and

proximately caused harm, loss, injuries, and damages to the BP Parties—as well as the harm,

loss, injuries and damages to others.

                                 CLAIM IV: CONTRIBUTION

       81.     The BP Parties reallege and incorporate by reference each and every allegation set

forth in all preceding paragraphs as if fully restated here.

       82.     The Deepwater Horizon incident has caused and continues to cause harm, loss,

injuries, and damages to the BP Parties.

       83.     Transocean is wholly or partly at fault for the Deepwater Horizon incident,

resulting oil spill, personal injuries, deaths, and other damages for the reasons explained in the

preceding allegations.

       84.     As a result, the BP Parties are entitled to contribution under admiralty law from

Transocean for all or a part of the damages resulting from the Deepwater Horizon incident,

resulting oil spill, and related damages.




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                          CLAIM V: CONTRIBUTION UNDER OPA

       85.     The BP Parties reallege and incorporate by reference each and every allegation set

forth in all preceding paragraphs as if fully restated here.

       86.     The Deepwater Horizon incident has caused and continues to cause harm, loss,

injuries, and damages to the BP Parties.

       87.     OPA states that a “person may bring a civil action for contribution against any

other person who is liable or potentially liable under this Act or another law.” 33 U.S.C. § 2709.

       88.     Transocean is liable or potentially liable under “[OPA] or another law” for the

Deepwater Horizon incident, resulting oil spill, personal injuries, deaths, and other damages for

the reasons explained in the preceding allegations.

       89.     As a result, the BP Parties are entitled to contribution under OPA from

Transocean for all or a part of the damages resulting from the Deepwater Horizon incident,

resulting oil spill, and related damages.

                                  CLAIM VI: SUBROGATION

       90.     The BP Parties reallege and incorporate by reference each and every allegation set

forth in all preceding paragraphs as if fully restated here.

       91.     The Deepwater Horizon incident has caused and continues to cause harm, loss,

injuries, and damages to the BP Parties.

       92.     BPXP has a statutory duty to pay, has paid, and will continue to pay damages to

resolve claims brought against BP resulting from the casualty and oil spill.

       93.     Transocean is wholly or partly at fault for the Deepwater Horizon incident,

resulting oil spill, personal injuries and deaths, and other damages for the reasons explained in

the preceding allegations.




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       94.     Accordingly, the BP Parties are entitled to recover from Transocean

reimbursement for all or a part of the damages related to the Deepwater Horizon incident and

resulting oil spill that the BP Parties have paid or will pay.

                         CLAIM VII: SUBROGATION UNDER OPA

       95.     The BP Parties reallege and incorporate by reference each and every allegation set

forth in all preceding paragraphs as if fully restated here.

       96.     OPA states that “Any person … who pays compensation pursuant to this Act

[OPA] to any claimant for removal costs or damages shall be subrogated to all rights, claims, and

cause of action that the claimant has under any other law.” 33 U.S.C. § 2715(a).

       97.     The Deepwater Horizon incident has caused and continues to cause harm, loss,

injuries, and damages to the BP Parties.

       98.     BPXP has a statutory duty to pay, has paid, and will continue to pay damages to

resolve claims brought against BP resulting from the casualty and oil spill.

       99.     Transocean is wholly or partly at fault for the Deepwater Horizon incident,

resulting oil spill, personal injuries and deaths, and related damages for the reasons explained in

the preceding allegations.

       100.    Accordingly, the BP Parties are entitled to recover from Transocean

reimbursement for all or a part of the damages related to the Deepwater Horizon incident and

resulting oil spill that the BP Parties have paid or will pay.

    CLAIM VIII: DECLARATORY JUDGMENT REGARDING TRANSOCEAN’S
  RESPONSIBILITY FOR THE DEEPWATER HORIZON INCIDENT AND OIL SPILL

       101.    The BP Parties reallege and incorporate by reference each and every allegation set

forth in all preceding paragraphs as if fully restated here.




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        102.    Transocean is wholly or partly at fault for the Deepwater Horizon incident and

resulting damages for the reasons explained in the preceding allegations.

        103.    The BP Parties have paid, and will continue to pay, various costs related to the

casualty and oil spill.

        104.    Transocean has not reimbursed the BP Parties for damages, costs, and expenses

related to the blowout of the MC252 well, the resulting explosion and fire onboard the

Deepwater Horizon, the effort to regain control of the MC252 well, the oil spill that ensued

before control of the MC252 well could be regained, and claims related to the Deepwater

Horizon incident and oil spill.

        105.    The BP Parties are entitled to financial recovery from Transocean for the

Deepwater Horizon incident and oil spill. Transocean, however, is not entitled to any such

financial recovery from or finding of liability against BP resulting from the Deepwater Horizon

incident and oil spill.

        106.    Transocean caused or contributed to the Deepwater Horizon incident and

subsequent oil spill and is responsible in whole or in part for all resulting damages incurred by

the BP Parties. The BP Parties, however, are not liable in contribution or indemnification or

other forms of monetary payment to Transocean with regards to liabilities arising from the

Deepwater Horizon incident under OPA, the Drilling Contract (including but not limited to

Articles 21 through 25), or any applicable law.

        107.    An actual and justiciable controversy has arisen and now exists between the BP

Parties and Transocean as to the parties’ duties and obligations, if any. As a result, the BP

Parties seek a declaratory judgment that Transocean is wholly and/or partly responsible for the

Deepwater Horizon incident, resulting oil spill, and related damages, costs and expenses;




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determining Transocean’s proportionate responsibility for the Deepwater Horizon incident,

resulting oil spill, and related damages; and requiring Transocean to pay its proportionate share

of all damages, costs and expenses related to the Deepwater Horizon incident and resulting oil

spill.

                                    PRAYER FOR RELIEF

         WHEREFORE, the BP Parties respectfully ask that this Court:

         A.     Enter judgment in the BP Parties’ favor against Transocean.

         B.     Order that the Plaintiffs/Claimants assert their claims directly against Transocean

Ltd. and Transocean, Inc.

         C.     Award the BP Parties, in proportion to Transocean’s fault, compensatory and

economic damages for costs and expenses incurred by the BP Parties to clean up and remediate

the oil spill, the amount of claims paid by the BP Parties under OPA, the amount of any

judgments or settlements that the BP Parties incur or pay, the amount of any OPA financial

liability that the BP Parties are liable for, the lost profits from and/or diminution in value of the

Macondo prospect, and all other costs and damages incurred by the BP Parties related to the

Deepwater Horizon incident and resulting oil spill, plus interest.

         D.     Declare that Transocean caused or contributed to the Deepwater Horizon incident

and subsequent oil spill and is responsible in whole or in part for all damages incurred by the BP

Parties related to the Deepwater Horizon incident and resulting oil spill, and that the BP Parties

are not liable in contribution, indemnification, or otherwise to Transocean for damages, costs, or

other expenses arising from the Deepwater Horizon incident and resulting oil spill under any

applicable law or contract.

         E.     Find that Transocean breached the Drilling Contract, causing the BP Parties to

suffer damages in an amount to be determined at trial.


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          F.   Find that Transocean’s Deepwater Horizon vessel was unseaworthy, causing the

BP Parties to suffer damages in an amount to be determined at trial.

          G.   Find that Transocean committed negligence, or gross negligence and/or gross

fault as may be established at trial based upon the evidence, causing the BP Parties to suffer

damages in an amount to be determined at trial

          H.   Award the reasonable costs and attorneys’ fees incurred by BP in prosecuting this

action.

          I.   Award such other relief as the Court may deem appropriate and just.




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Dated: April 20, 2011                 Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice in accordance with the procedures established in MDL 2179, on this 20th day

of April, 2011.



                                           /s/ Don K. Haycraft______________




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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig “Deepwater        :     MDL No. 2179
       Horizon” in the Gulf of Mexico, on         :
       April 20, 2010                             :     SECTION: J
                                                  :
This Document Relates To: 2:10-cv-04536-CJB-      :     JUDGE BARBIER
       SS (United States v. BP Exploration &      :     MAGISTRATE JUDGE SHUSHAN
       Production Inc., et al.)
…………………………………………………...

                          BPXP’S CROSS-CLAIM AND
                THIRD PARTY COMPLAINT AGAINST TRANSOCEAN

       Defendant/Third-Party Plaintiff BP Exploration & Production Inc. (“BPXP”) hereby

brings this third-party complaint for contribution pursuant to the Oil Pollution Act of 1990

(“OPA”), 33 U.S.C. §§ 2701 et seq., against Defendants Transocean Offshore Deepwater

Drilling Inc., Transocean Deepwater Inc., Transocean Holdings LLC, and Triton Asset Leasing

GmbH and Third-Party Defendants Transocean Ltd. and Transocean, Inc. (collectively,

“Transocean”), as set forth below, for the monetary recovery, if any, obtained by the United

States pursuant to OPA and as a result of the release of oil and hazardous substances in

connection with the Deepwater Horizon incident.

                                     INTRODUCTION

       1.     Transocean owned and operated the Deepwater Horizon, a mobile offshore

drilling unit or rig. On April 20, 2010, the Deepwater Horizon was in the process of completing

an exploratory drilling well in the Gulf of Mexico when it exploded and caught fire. Lives were

lost and people were injured. Two days later, on April 22, 2010, the vessel sank and from that

point forward, until July 15, 2010, oil flowed out of the well and into the Gulf of Mexico. The

Deepwater Horizon was owned and operated by Transocean. But for Transocean’s improper

conduct, errors, omissions, and violations of maritime law, there would not have been any
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blowout of the exploratory well in Mississippi Canyon, Block 252 (“MC252,” commonly

referred to as the Macondo prospect). Nor, but for Transocean’s misconduct, would there have

been any explosion and fire on the Deepwater Horizon, or any deaths and personal injuries, or an

oil spill in the Gulf of Mexico. The simple fact is that on April 20, 2010, every single safety

system and device and well control procedure on the Deepwater Horizon failed, resulting in

the casualty.

       2.       Transocean Offshore Deepwater Drilling Inc., Transocean Deepwater Inc.,

Transocean Holdings LLC, and Triton Asset Leasing GmbH (the “Transocean Deepwater

Horizon Companies”) have alleged that they are the Deepwater Horizon’s owners, managing

owners, owners pro hac vice, and/or operators. Each of these Transocean entities therefore is

directly liable for the improper conduct, errors, omissions, and violations of maritime law related

to the Deepwater Horizon. Transocean’s top level corporate entities, Transocean Ltd. and

Transocean Inc., dominate, control, or are otherwise the alter egos of the Transocean Deepwater

Horizon Companies. Transocean Ltd. and Transocean Inc. are also directly responsible for

policies and practices that led to the MC252 well blowout.

       3.       Transocean’s breaches of contract, negligence, and the unseaworthiness of the

Deepwater Horizon, were causes, in whole or in part, of the blowout of the Macondo well and

the ensuing oil spill in the Gulf of Mexico. As a result of such blowout and ensuing oil spill, BP

has incurred, and will continue to incur, substantial costs in containing and cleaning up the oil

spill and responding to the myriad claims and lawsuits that have been filed.

       4.       On December 15, 2010, the United States of America filed a complaint (the “DOJ

Complaint”) against BPXP, Anadarko Exploration & Production LP (“Anadarko Exploration”),

Anadarko Petroleum Corporation (“Anadarko Petroleum”), MOEX Offshore 2007 LLC




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(“MOEX”), Triton Asset Leasing GmbH (“Triton”), Transocean Holdings LLC (“Transocean

Holdings”), Transocean Offshore Deepwater Drilling Inc. (“Transocean Offshore”), Transocean

Deepwater Inc. (“Transocean Deepwater”), and QBE Underwriting Ltd., Lloyd’s Syndicate 1036

(“Lloyd’s”) seeking, inter alia, “a declaratory judgment that is binding in this action and any

subsequent action or actions against Defendants [BPXP], Anadarko Exploration, Anadarko

Petroleum, MOEX, Triton, Transocean Holdings, Transocean Offshore, and Transocean

Deepwater, jointly and severally and without any limitation, and Lloyd’s, the latter up to the

amount of its COFR guarantee, that said Defendants are liable for, inter alia, removal costs and

damages in this action and in any such subsequent action or actions.”

        5.       BPXP acknowledges that BP America Production Company and Transocean

Holdings LLC are parties to a Drilling Contract with an arbitration provision. That arbitration

provision does not apply here because, among other reasons, Transocean and Transocean

Holdings LLC through their conduct have waived any rights to arbitrate any aspects of the

disputes between any BP entities and Transocean relating to the Deepwater Horizon incident and

resulting oil spill.

                                         THE PARTIES

        6.       BPXP is a Delaware corporation with its principal place of business at 501

Westlake Park Boulevard, Houston, Texas, 77079.

        7.       Transocean Offshore Deepwater Drilling Inc. is a Delaware corporation with its

principal place of business at 4 Greenway Plaza, Houston, Texas, 77046-0400.

        8.       Transocean Deepwater Inc. is a Delaware corporation with its principal place of

business at 4 Greenway Plaza, Suite 700, Houston, Texas, 77046-0400.

        9.       Transocean Holdings LLC is a Delaware limited liability company with its

principal place of business at 4 Greenway Plaza, Suite 700, Houston, Texas, 77046-0400.


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          10.   Triton Asset Leasing GmbH is a Swiss Confederation limited liability company

with its principal place of business at Turmstrasse 30, CH-6300 Zug, Switzerland.

          11.   Transocean Inc. is a Cayman Islands corporation with principal places of business

at 4 Greenway Plaza, Houston, Texas, 77046, and 70 Harbour Drive, Grand Cayman, Cayman

Islands, KY1-1003. Transocean Inc. is the direct or indirect parent of the Transocean Deepwater

Horizon Companies.

          12.   Transocean Ltd. is a Swiss Confederation corporation with its principal place of

business at Turmstrasse 30, CH-6300 Zug, Switzerland.          Transocean Ltd. owns 100% of

defendant Transocean Inc., and is the ultimate parent and controlling entity of the Transocean

Deepwater Horizon Companies.

                                        JURISDICTION

          13.   The United States of America has filed a complaint against BPXP, among other

defendants, seeking a declaratory judgment that BPXP and other defendants are liable under

OPA for, inter alia, removal costs and damages incurred and that will be incurred by the United

States.

          14.   BPXP is named in the United States’ Complaint as a defendant in admiralty and

maritime claims that are pending before this Court.

          15.   Because of the acts and omissions described herein, Transocean is wholly or

partly liable to the United States and/or to BPXP for OPA financial liability. Accordingly,

pursuant to Federal Rule of Civil Procedure 13(g), BPXP brings cross-claims against Transocean

Offshore Deepwater Drilling Inc., Transocean Deepwater Inc., Transocean Holdings LLC, and

Triton Asset Leasing GmbH. Pursuant to Federal Rule of Civil Procedure 14(c)(2), BPXP

impleads Transocean Ltd. and Transocean, Inc. and hereby tenders them to the United States.

Accordingly, Transocean Ltd. and Transocean, Inc. must defend against the United States’


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claims for OPA financial liability, and the action proceeds as if the United States had sued

Transocean Ltd. and Transocean, Inc. BPXP also brings its own third-party claims directly

against Transocean Ltd. and Transocean, Inc.

        16.    This Court has jurisdiction over this complaint pursuant to 28 U.S.C. § 1333 and

the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq.

        17.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)-(c).

                             FACTS COMMON TO ALL CLAIMS

        18.    BPXP obtained a lease for Mississippi Canyon, Block 252, commonly known as

the Macondo prospect. BP, like other oil companies, contracts with and relies upon third parties

experienced and expert in the drilling and provision of other services and products for the

exploration, drilling, and development of deepwater wells. Pursuant to a Drilling Contract

between BP America Production Company (“BPAP”) and Transocean Holdings LLC,

Transocean was hired to drill the MC252 well using the Deepwater Horizon mobile offshore

drilling unit (“MODU”). Triton Asset Leasing GmbH, Transocean Holdings LLC, Transocean

Offshore Deepwater Drilling Inc., and Transocean Deepwater Inc. admit that they are the

owners, managing owners, owners pro hac vice, and/or operators of the Deepwater Horizon.

        A.     Transocean’s Duties And Obligations.

        19.    Transocean had numerous express obligations under the Drilling Contract,

including:

•       Transocean “shall be solely responsible for the operation of the Drilling Unit” and “shall
        act at all times as an independent contractor.”

•       Transocean “shall exercise due diligence to prevent the well from blowing out.”
        Transocean’s manuals specify that “Detection of a kick (intrusion of liquid or gas into the
        wellbore) is the responsibility of the Driller,” a Transocean employee, and that “It is the
        responsibility of the Driller (or person performing the Driller’s role) to shut-in the well as
        quickly as possible if a kick is indicated or suspected.”



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•       Transocean was responsible for “maintain[ing] the Drilling Unit at optimal operating
        condition, in accordance with good oilfield practices through the duration of the
        Contract,” and “agree[d] to ensure that the Drilling Unit and all equipment and materials
        furnished by [Transocean] are adequately maintained and in such condition as to permit
        their continuous and efficient operation.”

•       Transocean “shall have the primary responsibility for the safety of all its operations, shall
        take all measures necessary or proper to protect the personnel and facilities and, in
        addition, shall observe all safety rules and regulations of any governmental agency
        having jurisdiction over operations conducted hereunder.”

•       Transocean “represents that all of [Transocean’s] personnel shall be fully qualified,
        trained, competent, able bodied and fit for their respective assignments and shall have
        complied with all necessary laws and regulations in connection therewith.”

•       Transocean “represents that during the Contract Period, the Drilling Unit is outfitted,
        conformed, and equipped to meet all applicable laws, rules, requirements, and regulations
        promulgated by the U.S. Coast Guard, the U.S. Environmental Protection Agency, the
        United States of America Department of the Interior as well as any other agency, bureau,
        or department of the U.S. federal, territorial possession, state, municipal, or local
        governments, any political subdivisions thereof, having jurisdiction over the operations in
        U.S. federal waters.”

        20.    The provisions of the Drilling Contract should have reflected the operational

realities onboard the Deepwater Horizon and Transocean’s duties under the law. For example,

as a vessel owner, Transocean had non-delegable legal duties with respect to seaworthiness and

providing a properly trained crew and Captain.

        21.    Transocean also was required by law and contract to comply with certain

international conventions and codes. The Marshall Islands, the flag state of the Deepwater

Horizon, is a signatory to the International Convention for the Safety of Life at Sea, 1974

(“SOLAS”), and its flagged vessels must comply with SOLAS’s safety regulations. Exhibit B-1

of the Drilling Contract, which contains the specifications for the drilling unit, specifies that

SOLAS is an applicable rule and regulation for the rig.          SOLAS in turn incorporates the

International Safety Management Code (“ISM”) (2002), which sets forth requirements for safely

operating ships and preventing pollution.



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       B.      Transocean’s Equipment And Maintenance Practices.

       22.     The Deepwater Horizon carried various appurtenances to drill subsea wells and to

protect the vessel during drilling. These included a blowout preventer (“BOP”), a specialized

assembly of valves, annular preventers, and ram preventers, that sits atop the well on the sea

floor and is used to monitor, seal, and control the well during drilling operations.        The

Deepwater Horizon’s BOP also was equipped with an Emergency Disconnect System (“EDS”),

which was supposed to activate the BOP’s blind shear rams and separate the rig from the riser

that connected it with the BOP, allowing the rig to seal the well and disconnect from it. The

BOP also had an automatic mode or “deadman” function that should have closed the BOP’s

blind shear rams, shearing the drill pipe and sealing the open hole, if hydraulic and electrical

power and communication with the rig were lost. This deadman function depended on two

identical, independent control pods (yellow and blue) having sufficient battery charge and

hydraulic fluid to activate the blind shear rams if the BOP lost connection with the rig.

       23.     Other rig protection equipment included an alarm system that was supposed to

activate when gas was detected on the rig; the emergency shutdown system (“ESD”) designed to

cut off ventilation and electricity in areas where gas was detected; rig savers that should have

prevented gas flow to the engine control room and shut down the rig’s engines if combustible gas

was detected; and overspeed controls designed to shut down the engines when their rotational

speed significantly increased, preventing sparking that could ignite gas.

       24.     All of the Deepwater Horizon’s safety equipment depended on frequent,

competent, and quality maintenance for its operation.         The BOP in particular, because it

contained a number of complex and redundant hydraulic and electrical systems, required

extensive and diligent maintenance by Transocean and its contractors.




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        25.      Audits and inspections of the Deepwater Horizon, and the investigations to date,

have discovered a number of problems with Transocean’s maintenance programs for the

Deepwater Horizon and its equipment. These audits and inspections as well as Transocean’s

maintenance problems provided Transocean with actual knowledge of the problems related to the

Deepwater Horizon’s equipment and maintenance.

        26.      These problems included Transocean’s failure to perform necessary and

appropriate BOP inspections.1        Transocean’s own deficient inspection and maintenance

practices, of which Transocean had actual knowledge, caused the Deepwater Horizon’s BOP to

have numerous leaks that impaired its functions. Transocean also made various unauthorized

(and, in many cases, undocumented) modifications to the BOP, or failed to properly perform

approved modifications. In addition to the BOP, various other critical systems on the Deepwater

Horizon also experienced problems because of Transocean’s maintenance practices.

        C.       Transocean’s Captain And Crew.

        27.      Transocean’s training and organization of the Deepwater Horizon’s captain and

crew was plainly inadequate. Under maritime law, SOLAS, and the ISM, a vessel’s captain (also

known as the master) should have ultimate decision-making authority and responsibility over the

vessel at all times.    Yet, for the Deepwater Horizon (and apparently other rigs as well),

Transocean divided authority between the captain and the offshore installation manager (“OIM”)

as a matter of corporate policy. Transocean policies designated the OIM as the person-in-charge

when the vessel was in drilling mode, sowing confusion as to who was the ultimate commander

of the vessel.


1
  The BPXP understands that Cameron International Corporation (“Cameron”) conducted certain
maintenance on or modifications to the BOP at Transocean’s request. Thus, all allegations in this
Complaint concerning maintenance of or modifications to the BOP are made either directly or vicariously
against Transocean, which was responsible for the BOP.


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       28.     Concerns about Transocean’s drilling rig crew are not limited to the Captain.

Prior to April 20, 2010, Transocean’s management has acknowledged that it was diluting its

crews, leading to close calls that put rigs and their crews in danger. Indeed, just a few months

before the Deepwater Horizon incident, a Transocean rig drilling the Shell 711 well in the North

Sea suffered a blowout whose pattern and loss of well control was strikingly similar to what

would occur a short time later to the Deepwater Horizon.

       29.     Audits of the Deepwater Horizon confirmed that it experienced high crew

turnover. Interviews by an outside consultant reviewed by Transocean management revealed

that many supervisors were concerned over the crew’s ability to identify hazards and understand

the relevant risks.   This concern increased after March 8, 2010, when the MC252 well

experienced a kick that went unidentified by the Transocean drilling crew for approximately 33

minutes.

       D.      Transocean’s Errors And The Deepwater Horizon’s Unseaworthiness Caused
               The April 20 Blowout, Explosion And Fire, As Well As The Tragic Deaths,
               Personal Injuries, And Resulting Oil Spill.

       30.     On April 20, 2010, Transocean’s Deepwater Horizon was executing a temporary

abandonment procedure on the MC252 well, which involved capping the well so that offshore oil

and gas production could begin at a later date. As part of this process, the crew installed casing

— a large diameter pipe — that reached to the bottom of the wellbore. A contractor (Halliburton

Energy Services, Inc.) then cemented the casing to the wellbore. In addition to casing and

cementing, Transocean and other contractors removed from the wellbore dense drilling fluid or

“mud” used to contain hydrocarbons such as oil and gas during drilling procedures. When the

kick began on April 20, Transocean’s drillers and other crew members were in the process of

removing this drilling fluid and displacing it with seawater.




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               1.     Transocean Failed To Identify And React To Warning Signs That
                      The Well Was Flowing.

        31.    On April 20, 2010, from approximately 20:00 until the incident began,

Transocean’s drilling crew was displacing drilling fluid with seawater. Although the explosion

on the Deepwater Horizon occurred at approximately 21:49, clear and obvious warnings of a

well control incident had begun almost an hour earlier.

        32.    To fulfill his duties in monitoring the well to detect kicks and to shut in the well

when necessary, the Deepwater Horizon driller typically ran three data screens in the driller

cabin. The screens would have displayed, among other things, the drill pipe pressure and the

volume of drilling fluids. Transocean’s drillers could (and should) be able to identify a kick in a

well by monitoring the flow of drilling fluids into and out of the well, and the pressure on the

drill pipe.

        33.    At approximately 20:52 hydrocarbons began flowing into the wellbore. The first

indications of a kick occurred between 20:58 and 20:59, when the flow out of the well nearly

doubled while the flow into the well decreased—a standard indication of a kick. A few minutes

later, at 21:01, the drill pipe pressure increased from 1250 psi to 1350 psi while the pump rate

remained constant. This occurred while mud was being removed from the wellbore and replaced

with lighter seawater, which should have resulted in a decrease in pressure, not the increase that

went undetected. Over the next half hour, high drill pipe pressure and flow out of the well

continued to indicate a kick. Notwithstanding these clear kick indications, Transocean did

nothing.

        34.    Gas did not pass from the well into the riser until approximately 21:38 — 46

minutes after the well began flowing and long after indications of flow should have been

apparent to Transocean. If Transocean had closed the BOP around the drill pipe at any time



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before 21:38 — and if Transocean’s poorly maintained BOP had shut in the well — the flow of

hydrocarbons into the riser would have been eliminated.

       35.     But without any well control action taken by Transocean, by 21:38 hydrocarbons

had headed up the riser and onto the rig. At 21:40, the expanding gas pushed out drilling fluid

and spewed mud onto the rig floor.       One minute later, mud shot through the Deepwater

Horizon’s derrick.

       36.     At 21:41, Transocean took its first well control action, apparently attempting to

close the lower annular preventer. This was over forty minutes after the initial indications that

the well was flowing. Transocean’s failure to identify the kick during this period resulted from

its inadequate policies and training, and led directly to gas reaching and then flowing onto the

rig.

               2.     Transocean Failed To Properly Monitor The Well To Detect Whether
                      It Was Flowing.

       37.     Transocean’s failure to monitor the “mud pits” also is likely to have contributed

to its failure to recognize that a kick was in progress (though the changes in drill pipe pressure

and flow in versus flow out each gave clear, sufficient indications of a kick). The amount of

return and loss of drilling fluids is a key indicator of well integrity. Upon being displaced from

the well, these fluids are discharged into mud pits. Comparing changes in pit volumes to

seawater volume pumped into the well is one way to determine whether the well was

experiencing a kick during displacement. Any discrepancy in the two volumes could indicate

that the well was flowing.

       38.     Transocean failed to monitor the return and loss of drilling fluids from the well.

Instead, it transferred mud to another vessel without measuring its volume and discharged

drilling fluids directly overboard. These procedures prevented Transocean and other contractors



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upon whom BP relied to accurately measure the volume of pit gains and thus removed another

data set, in addition to drill pipe pressure and flow in versus flow out, that would have shown

that a kick was in progress.

               3.      Transocean’s Belated Well Control Actions Dispersed Gas Onto The
                       Rig, Causing The Explosions.

       39.     Even with gas coming up through the riser, the blowout still could have been

controlled by a properly trained crew. But Transocean’s manuals do not address or explain to its

crews how to handle a continuous and uncontrolled flow of gas from a well. As a consequence,

and due to a lack of training, Transocean’s crew used the wrong equipment at the wrong times to

attempt to control the blowout.

       40.     The Deepwater Horizon was equipped with a diverter system that provided two

alternate paths for gas or gas-bearing mud reaching the rig from the well. The first path was

through the mud-gas separator (“MGS”), which is designed to remove gas from relatively small

quantities of mud. The second diverter path sends flow directly overboard through two 14-inch

pipes, one starboard and one portside.

       41.     The obvious question is which path—the MGS or overboard diverters—should be

used when mud and hydrocarbons are proceeding up the riser to the rig. Transocean’s shut-in

protocols do not fully address or explain how to respond to high flow emergency situations, and,

in fact, provide contradictory instructions. On the night of April 20, 2010, the drilling crew

chose to use the MGS, which was almost immediately overwhelmed, causing gas to spray onto

the center of the rig rather than over the side of the vessel through the diverters.

       42.     Transocean’s protocols also do not fully address or explain how to respond to a

loss of well control. There are no instructions on how to handle continuous well flow, such as by




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closing the BOP’s blind shear rams. Nor is there any mention of whether or when to activate the

EDS in response to a well control emergency.

        43.     On April 20, 2010, Transocean’s attempts to activate the BOP came far too late to

successfully shut in the well. Transocean’s crew did not attempt to activate the BOP until 21:41,

when they triggered the BOP’s annular preventer. The lower annular apparently failed to seal

until approximately five minutes later, at 21:47. During this time, highly combustible gas

continued to spew onto the rig.2

                4.      The Deepwater Horizon’s ESD, Rig Savers, And Overspeed Controls
                        Failed.

        44.     Because of Transocean’s decision to use the MGS rather than the overboard

diverter, gas quickly covered the rig. Although the Deepwater Horizon had multiple safety

devices designed to prevent that gas from igniting, these devices—some of which had

malfunctioned before and all of which were subjected to Transocean’s poor maintenance

practices—failed when they were needed most.              Transocean had actual knowledge of the

inadequate maintenance on these safety devices from audits and inspections.

        45.     The first such device was the rig’s emergency shutdown system (“ESD”), which

should cut off ventilation and electricity in areas where gas is detected. But on April 20, 2010,

Transocean’s ESD safety systems failed to prevent gas from reaching the rig’s engine spaces.

        46.     The next safety device was the rig savers, which should have prevented gas flow

to the engine spaces and tripped or shut down the engines if combustible gas was detected. The

rig savers failed to function on April 20, 2010 when gas from the well entered the engine spaces.




2
  In addition to activating the annular preventer, Transocean’s drilling crew may have belatedly attempted
to activate one or more of the variable bore rams at approximately 21:46. While it is possible that these
rams may have temporarily sealed the well, they did not shut it in.


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       47.       The Deepwater Horizon’s engines themselves had yet another safety device that

failed. Engines 3 and 6, which were on-line at the time of the incident, were equipped with two

independent sets of overspeed controls designed to shut down the engines when their rotational

speed significantly increased. These devices should have prevented the engines from igniting

any gas reaching the rig. But on April 20, 2010, the overspeed controls failed when gas from the

blowout reached the engines, causing them to overspeed significantly and trigger the explosions

on the vessel.

                 5.      The Rig’s Power Generators Failed To Operate After The Explosion,
                         Rendering The Vessel And Its Crew Helpless.

       48.       Engines supplied all of the electrical power to the Deepwater Horizon, including

to the rig’s six primary generators. These primary generators shut down after the first explosion,

when engine 3 likely blew up. Yet none of the other primary generators started up, leaving the

vessel dead in the water and without power. Three Transocean crew members attempted to start

the vessel’s backup generator, which was necessary to power the rig’s emergency and

firefighting equipment, but that generator also would not start.        This rendered the rig’s

firefighting systems inoperable, as the lack of power disabled the electric pump that drives the

watering system. Although the three crew members who attempted to start the vessel’s backup

generator did their best, they had not been trained by Transocean in how to start the vessel’s

backup generator.

                 6.      Transocean’s Divided Command Structure, Combined With The
                         Failures Of Its Captain, Compounded The Effects Of The Casualty.

       49.       Transocean’s split command led to confusion during the well control incident.

Who was in charge of the vessel was unclear. When disaster struck on the evening of April 20,

2010, neither the Deepwater Horizon’s Captain nor its OIM gave clear orders to crew members

and passengers.       Instead, following the explosions, the crew scattered throughout the rig.


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Transocean’s Captain — who by law should have been in control of the vessel — never took the

measures necessary to secure the vessel or the well.         The Captain’s actions (and, more

importantly, his inactions) demonstrate that he underestimated the severity of the incident, even

after the emergency was obvious to everyone else.

               7.      Transocean And Its Captain Erred In Delaying To Activate The
                       Blowout Preventer and EDS.

       50.     Transocean’s Captain inexplicably delayed when it came to the vessel’s ultimate

safety device: the EDS. Transocean personnel on the bridge — particularly the Captain — could

and should have taken decisive action to save the vessel and shut in the well by immediately

activating the EDS. Instead, the Captain delayed ordering that the EDS be triggered until several

minutes after the explosion, when it was too late. Even then, the Captain did not order activation

of the EDS until he had first conferred with the OIM. In the meantime, in the midst of the

emergency and before the OIM arrived on the bridge following the explosions, the Captain

expressly forbade the crew from activating the EDS. Transocean’s inadequate training of the

Captain and failure to identify when the EDS should be operated in well control situations

caused these errors.

               8.      Transocean’s EDS And Blowout Preventer Malfunctioned, Failing To
                       Shut In The Well.

       51.     When Transocean finally activated the EDS and BOP, these safety devices failed.

Given the loss of control over the BOP, its deadman functionality should have automatically

activated, closing the blind shear rams, shearing the drill pipe, and sealing the open hole. But

despite the rig losing control of the BOP, the deadman failed to operate.

       52.     Investigation after the casualty revealed that, of the two independent control pods

on the BOP, a valve in one did not function when tested and the battery in the other was

insufficiently charged to activate the deadman. A number of different leaks in the BOP pods


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also were identified, which may also have compromised their ability to generate sufficient

hydraulic power to activate the BOP.

               9.      Transocean’s Uncoordinated Fire-Fighting Attempts Allowed The Rig
                       To Burn For Over 36 Hours And Then Sink Into The Gulf of Mexico.

       53.     After the Deepwater Horizon was set ablaze on April 20, 2010, Transocean not

only failed to undertake its own fire-fighting efforts onboard the vessel, but also abdicated its

responsibility to coordinate efforts of the response vessels that arrived on the scene shortly after

the explosions. As a result, the Deepwater Horizon burned for over thirty-six hours before

sinking into the Gulf of Mexico.

       E.      The Claims, Lawsuits, And Expenses Asserted Against BP As Result Of The
               Deepwater Horizon Incident.

       54.     Because of Transocean’s misconduct and multiple errors, both before, on and

after April 20, 2010, oil and gas flowed from the MC252 well into the Gulf of Mexico until July

15, 2010, when BP sealed the well. The scale of BP’s response program was massive and

unprecedented. Under the dictates of and as required by the Oil Pollution Act of 1990, 33 U.S.C.

§ 2701, et seq. (“OPA”), BP has committed to paying all legitimate claims for damages pursuant

to the requirements and terms of OPA, while reserving its right to seek reimbursement,

contribution, and indemnification from Transocean and other responsible parties. Because of

Transocean’s conduct, BP faces hundreds of lawsuits and thousands of claims arising out of the

Deepwater Horizon incident.

       55.     The total amounts that will ultimately be paid by BP under OPA or otherwise in

relation to the incident are subject to significant uncertainty. The ultimate exposure and cost to

BP will depend on many factors, including the amount of claims that become payable by BP, the

amount of fines ultimately levied against BP (including any determination of negligence by BP),




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the outcome of lawsuits and claims, and any costs arising from any longer-term environmental

consequences of the oil spill.

       56.     As of the end of 2010, BP’s incurred costs relating to the incident were $17.7

billion. BP’s group income statement for 2010 reflects a pre-tax charge of $40.9 billion in

relation to the Gulf of Mexico oil spill.

       57.     The DOJ Complaint seeks, inter alia, “a declaratory judgment that is binding in

this action and any subsequent action or actions against Defendants [BPXP], Anadarko

Exploration, Anadarko Petroleum, MOEX, Triton, Transocean Holdings, Transocean Offshore,

and Transocean Deepwater, jointly and severally and without any limitation, and Lloyd’s, the

latter up to the amount of its COFR guarantee, that said Defendants are liable for removal costs

and damages in this action and in any such subsequent action or actions.”

       58.     The DOJ Complaint also alleges that: “‘natural resources,’ as that term is defined

in OPA, 33 U.S.C. § 2701(2), have been injured, destroyed, or lost;” the “amount of damages

and the extent of injuries sustained by the United States as a result of the Deepwater Horizon

Spill are not yet fully known, but far exceed $75,000,000;” and that “[a]s a result of the

Deepwater Horizon Spill, the United States has expended and/or sustained and/or will expend or

sustain, inter alia, ‘removal costs’ and ‘damages,’ within the meaning of OPA, 33 U.S.C.

§ 2702(b).”

       F.      Transocean’s Domination And Control Of Its Corporate Subsidiaries.

       59.     Transocean Ltd. is the holding company of an international group of companies

involved in offshore contract drilling services for oil and gas wells, oil and gas drilling

management services, drilling engineering services and drilling project management services,

and oil and gas exploration and production activities. Transocean Ltd. conducts its business

through a tightly controlled labyrinth of subsidiaries and related entities owned by Transocean


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Ltd. in whole or in significant part, and through joint ventures with other entities. Transocean

Ltd. has no assets or operations independent from its wholly owned subsidiary Transocean Inc.

Transocean Inc. itself holds interests in a variety of Transocean operating companies, and is the

direct or indirect parent company of defendants Transocean Offshore Deepwater Drilling Inc.

and Triton Asset Leasing GmbH. Transocean Offshore Deepwater Drilling Inc., in turn, is the

direct corporate parent of defendants Transocean Deepwater Inc. and Transocean Holdings LLC.

        60.     Transocean Ltd., Transocean Inc. and other parent Transocean entities exercised,

directly or indirectly, complete control over the various Transocean subsidiaries, including the

Transocean Deepwater Horizon Companies. Together, the Transocean entities operated as a de

facto single economic enterprise and the affairs of the junior subsidiaries were conducted for the

sole benefit of their direct or indirect corporate owners.

        61.     Corporate formalities are on the whole not observed and/or are moot given the

senior entities’ direct or indirect control over the selection of and leverage over the officers and

directors of their subsidiaries.

        62.     On information and belief, Transocean subsidiaries were owned and controlled by

and for the benefit of their corporate owners in various ways, including but not limited to the

following:

•       common or overlapping stock ownership;

•       de facto control and leverage over the selection of the Transocean subsidiaries’ officers
        and directors, which overlapped with the officers and directors of other Transocean
        entities;

•       common and/or de facto ownership of significant assets such as, for example, the
        Deepwater Horizon (in which four of the defendants claim an interest, for purposes of
        limiting their liability, as “Owner, Managing Owners, Owners Pro Hac Vice, and/or
        Operators”);




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•       formal or informal agreements under which one Transocean entity pays the wages and
        salaries of Transocean employees working on or in connection with an asset owned by
        another entity;

•       shared facilities and services pursuant to formal or informal agreements;

•       common or consolidated financial and shareholder reporting and income tax and
        securities filings, which deceive the public about the true financial condition of the
        various Transocean entities, individually and collectively;

•       formal or informal agreements under which significant business decisions could not be
        made without consultation with and/or approval of the corporate parent, either directly or
        indirectly;

•       formal and informal intracorporate loans;

•       intermingled daily operations and treating property of the junior subsidiaries as the
        property of their owners;

•       providing the sole or a significant source of the subsidiaries’ financing; and

•       company-wide policies relating to the operation and maintenance of drilling rigs and the
        training and performance of their crews.

        63.    On information and belief, junior Transocean subsidiaries had unreasonably small

capital relative to the significant risk of their various operations, which prejudiced the entities’

creditors, including those injured by the subsidiaries’ operations and those to which the

subsidiaries owe indemnity and/or contribution obligations.

        64.    Transocean entities intentionally represented the independence of their direct or

indirect subsidiaries, which had in effect no independent existence. An adherence to the fiction

of separate identity would serve only to defeat justice and equity by permitting the Transocean

entities to escape liability arising out of operations conducted for the benefit of the senior entities

or the collective economic enterprise.

        G.     Transocean Breached It Duties Under The Drilling Contract.

        65.    The Drilling Contract imposes a series of duties on Transocean Holdings LLC.

The Drilling Contract requires that Transocean Holdings LLC:


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•       “shall maintain well control equipment in accordance with good oilfield practices at all
        times and shall use all reasonable means to control and prevent fire and blowouts . . . .”
        Drilling Contract ¶ 15.2.

•       “exercise due diligence to prevent the well from blowing out, and to enable the efficient
        drilling, logging, and testing of all formations without caving or formation
        contamination.” Id. ¶ 15.6.

•       “shall take all measures necessary or proper to protect the personnel and facilities.” Id.
        ¶ 17.1.

•       “shall place the highest priority on safety while performing the work.” Id.

•       “shall observe all of [BP’s] safety rules and guidelines . . . and the requirements
        contained in Exhibit D.” Id.

•       represent that its personnel “shall be fully qualified, trained, competent, able bodied and
        fit for their respective assignments and shall have complied with all necessary laws and
        regulations in connection therewith.” Id. ¶ 3.1.4.

•       “maintain the Drilling Unit at optimal operating condition, in accordance with good
        oilfield practices through the duration of the Contract.” Id. ¶ 14.1.

•       represent that “it will diligently perform the Work in a good workmanlike manner
        consistent with applicable industry standards and practices, … it will use sound technical
        principles where applicable, [and] … it will perform the Work in compliance with this
        Contract.” Id. ¶ 14.1.1.

•       “represent[] that during the Contract Period, the Drilling Unit is outfitted, conformed, and
        equipped to meet all applicable laws, rules, requirements, and regulations promulgated by
        the U.S. Coast Guard, the U.S. Environmental Protection Agency, the United States of
        America Department of the Interior as well as any other agency, bureau, or department of
        the U.S. federal, territorial possession, state, municipal, or local governments, any
        political subdivisions thereof, having jurisdiction over the operations in U.S. federal
        waters.” Id. ¶ 14.5.

•       shall comply with SOLAS, including the ISM. Id. Ex. B-1 at 6.

        66.     Transocean materially breached its contractual duties in its actions and inactions

leading to the loss of well control, the explosion, and the loss of life and injuries onboard the

Deepwater Horizon, as well as the resulting oil spill. Specifically, Transocean breached its

contractual duties by the following acts and omissions, among others:




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•       Transocean did not adequately maintain the Deepwater Horizon and persistently delayed
        maintenance on the vessel.

•       Transocean did not properly maintain the BOP.

•       Transocean failed to conduct appropriate inspections of the BOP.

•       Transocean had prior failures of the engine overspeed controls, which were not properly
        fixed.

•       Because of Transocean’s poor maintenance, the rig savers on the vessel failed to function
        to shut down the engines.

•       After the explosion and the on-line primary generators shut down, other generators failed
        to function.

•       Transocean made numerous unapproved (and, in many cases, undocumented) changes to
        the BOP.

•       Authority for the vessel was improperly and unlawfully divided between Transocean’s
        Captain and OIM.

•       Transocean’s Captain was not trained to use the rig’s EDS, the vessel’s ultimate safety
        device.

•       The actions and inactions of Transocean’s Captain showed that he underestimated the
        severity of the incident.

•       Transocean had diluted its crews on the rigs and had experienced high levels of turnover.

•       Transocean failed to properly coordinate efforts to fight the fires on board the Deepwater
        Horizon from April 20 to 22, 2010.

•       Transocean failed to provide a seaworthy vessel, and also failed to provide proper
        training and a well-trained crew for the Deepwater Horizon.

•       Before the well blew out on April 20, 2010, Transocean frustrated a safety check by
        transferring to another vessel drilling fluid displaced from the well and by discharging
        drilling fluids directly overboard.

•       Transocean failed to properly train its drilling crews in how to handle blowouts.

•       Transocean’s drilling crew failed to promptly identify and address the kick that caused
        the incident.

As investigations into the incident continue, and once BPXP obtains discovery from Transocean,

BPXP believes that the evidence may support additional breaches of the Drilling Contract. In


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general, Transocean repeatedly breached the Drilling Contract in multiple, material ways—all

leading to the casualty and injuries which took place on and after April 20, 2010.

          67.    These obligations and breaches apply to Transocean as a whole because

Transocean Ltd., Transocean Inc. and other parent Transocean entities exercised, directly or

indirectly, complete control over the various Transocean subsidiaries, including the Transocean

Deepwater Horizon Companies, and issued and/or enforced various policies and practices

applicable to the Deepwater Horizon.

          68.    Transocean’s breach of its contractual duties has directly and proximately caused

harm, loss, injuries, and damages to BPXP—as well as the harm, loss, injuries and damages to

others.

          H.     Transocean Caused the Deepwater Horizon To Be Unseaworthy.

          69.    Respondents Triton Asset Leasing GmbH, Transocean Holdings LLC, Transocean

Offshore Deepwater Drilling Inc., and Transocean Deepwater Inc., as the owner and/or operators

of the Deepwater Horizon vessel, owed BPXP the duty to maintain the vessel in a seaworthy

condition. This duty requires that Transocean provide a vessel that is staunch and strong, fitted

out with all proper equipment and in good order, and that carries a sufficient and competent crew

and complement of officers. A vessel owner’s obligation to supply a seaworthy vessel extends to

the vessel’s appurtenances, including but not limited to the BOP, as well as the captain and crew

of the vessel.

          70.    Transocean breached its duties to supply a seaworthy vessel.        Specifically,

Transocean breached its duties by the acts and omissions listed in the preceding paragraphs,

including but not limited to Paragraphs 22-53 and 66. As investigations into the incident

continue, and once BPXP obtains discovery from Transocean, BPXP believes that the evidence

is likely to provide additional examples of the Deepwater Horizon’s unseaworthiness.           In


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general, Transocean caused the Deepwater Horizon to be unseaworthy in multiple, material

ways—all leading to the casualty and injuries which took place on and after April 20, 2010.

           71.    These obligations and breaches apply to Transocean as a whole because

Transocean Ltd., Transocean Inc. and other parent Transocean entities exercised, directly or

indirectly, complete control over the various Transocean subsidiaries, including the Transocean

Deepwater Horizon Companies, and issued and/or enforced various policies and practices

applicable to the Deepwater Horizon.

           72.    The Deepwater Horizon’s unseaworthiness has directly and proximately caused

harm, loss, injuries, and damages to BPXP—as well as the harm, loss, injuries and damages to

others.

           I.     Transocean Was Negligent Through Deviating From The Standard Of Care
                  And/Or Laws And Regulations.

           73.    Transocean owed BPXP various duties to use reasonable care related to the

Deepwater Horizon vessel. These included, though are not limited to, the duty to use reasonable

care in:

•          Operating the Deepwater Horizon rig and drilling wells;

•          Maintaining and repairing the vessel;

•          Maintaining and repairing the appurtenances of the vessel, including the BOP;

•          Not making modifications to the BOP that would impair its functions;

•          Properly and promptly operating the BOP;

•          Responding to kicks encountered while operating the vessel;

•          Preventing blowouts;

•          Safely operating the vessel;

•          Properly maintaining and using all safety equipment on board the vessel;



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•       Providing a competent and qualified crew;

•       Providing proper and necessary training to the crew and Captain of the vessel;

•       Properly maintaining the vessel;

•       Providing proper well monitoring and well control training;

•       Providing a seaworthy vessel and crew; and

•       Complying with SOLAS, including the ISM.

        74.    Transocean breached these duties of care and acted with negligence, or gross

negligence and/or gross fault as may be established at trial based upon the evidence.

Specifically, Transocean breached its duties by the acts and omissions listed in the preceding

paragraphs, including but not limited to Paragraphs 22-53 and 66. As investigations into the

incident continue, and once BPXP obtains discovery from Transocean, BPXP believes that the

evidence is likely to provide additional examples of Transocean’s negligent acts and omissions

by Transocean. In general, Transocean acted with negligence, or gross negligence and/or gross

fault as may be established at trial based upon the evidence, in multiple, material ways—all

leading to the casualty and injuries which took place on and after April 20, 2010.

        75.    These obligations and breaches apply to Transocean as a whole because

Transocean Ltd., Transocean Inc. and other parent Transocean entities exercised, directly or

indirectly, complete control over the various Transocean subsidiaries, including the Transocean

Deepwater Horizon Companies, and issued and/or enforced various policies and practices

applicable to the Deepwater Horizon.

        76.    Transocean’s negligence, or gross negligence and/or gross fault as may be

established at trial based upon the evidence, in operating the Deepwater Horizon has directly and

proximately caused harm, loss, injuries, and damages to BPXP—as well as the harm, loss,

injuries and damages to others.


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                          BPXP’S CLAIM AGAINST TRANSOCEAN

      CLAIM I: CONTRIBUTION UNDER THE OIL POLLUTION ACT OF 1990

       77.     BPXP realleges, adopts and incorporates by reference the allegations contained in

Paragraphs 1-76, as if fully set forth herein.

       78.     Section 1009 of OPA, 33 U.S.C. §2709, provides in pertinent part: “A person may

bring a civil action for contribution against any other person who is liable or potentially liable

under this Act or another law.”

       79.     The DOJ Complaint alleges that, as a result of the Deepwater Horizon incident,

natural resources have been injured, destroyed, or lost; the amount of damages and the extent of

injuries sustained by the United States are not yet fully known; and the United States has

expended and/or sustained and/or will expend or sustain, inter alia, “removal costs” and

“damages,” within the meaning of OPA, 33 U.S.C. § 2702(b). The DOJ Complaint also seeks a

declaratory judgment that BPXP and the other defendants are liable for removal costs and

damages in this action and in any such subsequent action or actions.

       80.     If the United States successfully obtains and/or will obtain a monetary recovery

from BPXP pursuant to OPA as a result of the release of oil and hazardous substances in

connection with the Deepwater Horizon incident, including but not limited to the removal costs

and damages alleged in the DOJ Complaint, such OPA financial liabilities to the United States

on the part of BPXP would not primarily be due to any fault or negligence on the part of BPXP.

       81.     Transocean is wholly or partly at fault for the Deepwater Horizon incident and

any resulting OPA financial liability incurred and/or to be incurred by the United States for the

reasons explained above.

       82.     If BPXP is held liable to the United States for all or part of any monetary recovery

under OPA obtained and/or to be obtained by the United States, including but not limited to the


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removal costs and damages alleged in the DOJ Complaint, Transocean is liable in contribution to

BPXP under Sections 1009 and 1017 of OPA, 33 U.S.C. §§ 2709 and 2717.

        83.    An actual controversy currently exists between BPXP and Transocean with regard

to Transocean’s liability to BPXP for any monetary recovery from BPXP obtained and/or to be

obtained by the United States in connection with the Deepwater Horizon incident. A declaratory

judgment is therefore appropriate to define Transocean’s liability in contribution to BPXP for

BPXP’s liabilities to the United States under OPA, if any, and bind Transocean in any

subsequent action or actions that BPXP may bring.

                                     PRAYER FOR RELIEF

        WHEREFORE, BPXP respectfully asks that this Court:

        A.     Enter judgment in BPXP’s favor against Transocean.

        B.     Order that the United States assert its claims for OPA financial liability directly

against Transocean Ltd. and Transocean, Inc.

        C.     Award BPXP, in proportion to Transocean’s fault, the amount of any OPA

financial liability for which BPXP is determined to be liable, if any, plus interest.

        D.     Declare pursuant to 28 U.S.C. § 2201 that Transocean caused or contributed to the

Deepwater Horizon incident and subsequent oil spill and is responsible in whole or in part for all

damages incurred under OPA by BPXP related to the Deepwater Horizon incident and resulting

oil spill, and that BPXP is not liable in contribution, indemnification, or otherwise to Transocean

for damages, costs, or other expenses arising from the Deepwater Horizon incident and resulting

oil spill under any applicable law or contract.

        E.     Award the reasonable costs and attorneys’ fees incurred by BPXP in prosecuting

this action.

        F.     Award such other relief as the Court may deem appropriate and just.


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Dated: April 20, 2011                 Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice in accordance with the procedures established in MDL 2179, on this 20th day

of April, 2011.



                                           /s/ Don K. Haycraft______________




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                                                                     170BVIII(K)5 Questions of Fact, Verdicts
                                                           and Findings
       United States Court of Appeals,                                   170Bk850 Clearly Erroneous Findings
                First Circuit.                             of Court or Jury in General
LA ESPERANZA DE P.R., INC., Plaintiff, Appel-                                  170Bk850.1 k. In General. Most
                     lant,                                 Cited Cases
                       v.                                      District court's bench trial findings of fact are
PEREZ Y CIA. DE PUERTO RICO, INC., Defend-                 reviewed for clear error. Fed.Rules Civ.Proc.Rule
               ant, Appellee.                              52(a), 28 U.S.C.A.
 LA ESPERANZA DE P.R., INC., Plaintiff, Ap-
                    pellee,                                [2] Federal Courts 170B         853
                       v.
PEREZ Y CIA. DE PUERTO RICO, INC., Defend-                 170B Federal Courts
               ant, Appellant.                                 170BVIII Courts of Appeals
                                                                   170BVIII(K) Scope, Standards, and Extent
              Nos. 96-1904, 96-1905.                                  170BVIII(K)5 Questions of Fact, Verdicts
               Heard May 7, 1997.                          and Findings
              Decided Aug. 13, 1997.                                      170Bk850 Clearly Erroneous Findings
                                                           of Court or Jury in General
     Shipyard commenced collection action for al-                                170Bk853 k. Definite and Firm
legedly unpaid work performed on vessel pursuant           Conviction of Mistake. Most Cited Cases
to contract. Shipowner brought separate action for              Appellate court deems finding to be clearly er-
damages resulting from shipyard's alleged negli-           roneous only when, after reviewing entire record, it
gence and breach of contract. Actions were consol-         is left with definite and firm conviction that mistake
idated for bench trial. The United States District         has been committed.
Court for the District of Puerto Rico, Gilberto Gier-
bolini-Ortiz, S.J., 899 F.Supp. 861, awarded               [3] Federal Courts 170B         866
shipyard $10,999 and awarded shipowner
$220,000. Both parties appealed. The Court of Ap-          170B Federal Courts
peals, Stahl, Circuit Judge, held that: (1) damage to         170BVIII Courts of Appeals
ship was caused by shipyard's negligence and                      170BVIII(K) Scope, Standards, and Extent
breach of contract; (2) shipyard's efforts to repair                 170BVIII(K)5 Questions of Fact, Verdicts
vessel were not grossly negligent, as would vitiate        and Findings
red letter clause in repair contract; and (3) evidence                   170Bk855 Particular Actions and Pro-
supported damage awards.                                   ceedings, Verdicts and Findings
                                                                             170Bk866 k. Negligence and Per-
    Affirmed.                                              sonal Injury Cases. Most Cited Cases
                                                                Questions of negligence decided in bench trial
                  West Headnotes                           are reviewed under clearly erroneous standard.

[1] Federal Courts 170B         850.1                      [4] Admiralty 16        14

170B Federal Courts                                        16 Admiralty
   170BVIII Courts of Appeals                                 16I Jurisdiction
      170BVIII(K) Scope, Standards, and Extent                   16k9 Contracts




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              16k14 k. Repairs and Supplies. Most           16 Admiralty
Cited Cases                                                    16I Jurisdiction
     While contract to construct ship falls outside               16k1.10 What Law Governs
federal admiralty jurisdiction because it is contract                16k1.15 k. Torts. Most Cited Cases
made on land, to be performed on land, contracts                Negligence causes of action in admiralty in-
for repairs to vessel or for its substantial recon-         voke principles of maritime negligence, not those
struction come under scope of admiralty jurisdic-           of common law.
tion.
                                                            [9] Shipping 354      75
[5] Admiralty 16       1.11
                                                            354 Shipping
16 Admiralty                                                       354V Rights and Liabilities of Vessels and
   16I Jurisdiction                                         Owners in General
       16k1.10 What Law Governs                                      354k75 k. Contracts in General. Most Cited
          16k1.11 k. In General. Most Cited Cases           Cases
     In absence of relevant statute, judicially de-             While implied warranty of workmanlike per-
veloped norms of general maritime law, an amal-             formance parallels negligence standard rather than
gam of traditional common-law rules, modifications          imposing strict liability that attaches to implied
of those rules, and newly created rules, govern ac-         warranties in land-based contracts, shipowner may
tions in admiralty.                                         receive indemnity from marine contractor for
                                                            breach of implied warranty of workmanlike service,
[6] Shipping 354       76                                   albeit that such performance was done without neg-
                                                            ligence.
354 Shipping
      354V Rights and Liabilities of Vessels and            [10] Admiralty 16       1.20(2)
Owners in General
        354k76 k. Supplies, Repairs, and Advances.          16 Admiralty
Most Cited Cases                                               16I Jurisdiction
    Ship repairer who performs vessel repairs im-                 16k1.10 What Law Governs
properly may be liable in contract for breach of his                 16k1.20 Effect of State Laws
expressly assumed obligations or for breach of im-                       16k1.20(2) k. Contracts in General; In-
plied warranty of workmanlike performance that at-          surance. Most Cited Cases
taches to admiralty contracts.                                  Federally developed maritime law applies both
                                                            when court construes terms of ship repair contract
[7] Shipping 354       76                                   and when it construes standard of performance due
                                                            thereunder.
354 Shipping
     354V Rights and Liabilities of Vessels and             [11] Shipping 354       76
Owners in General
        354k76 k. Supplies, Repairs, and Advances.          354 Shipping
Most Cited Cases                                                 354V Rights and Liabilities of Vessels and
    Ship repairer who performs vessel repairs im-           Owners in General
properly may be liable for maritime tort of negli-                 354k76 k. Supplies, Repairs, and Advances.
gence, in addition to any contract-based liability.         Most Cited Cases
                                                                Damage to ship was caused by shipyard's negli-
[8] Admiralty 16       1.15                                 gence and breach of contract, rather than by any




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failure of shipowner to see that repairs were com-         354 Shipping
pleted, where ship came in for repairs under its own             354V Rights and Liabilities of Vessels and
power, shipyard workers cut into hull without              Owners in General
knowing what type of steel they were dealing with,                 354k75 k. Contracts in General. Most Cited
method of cutting they employed caused damage to           Cases
ship, even more damage resulted from attempts to                Exculpatory, or red letter, clauses in marine
patch holes, and shipyard then refloated ship, which       contracts are enforceable, but may not provide for
was in worse condition than when it came in,               total absolution of liability; rather, prospective
without ever completing repairs, and attempted to          wrongdoer's potential liability should be enough to
evade responsibility by recommending special               deter negligence.
welding consultant.
                                                           [15] Shipping 354         75
[12] Shipping 354        76
                                                           354 Shipping
354 Shipping                                                      354V Rights and Liabilities of Vessels and
      354V Rights and Liabilities of Vessels and           Owners in General
Owners in General                                                   354k75 k. Contracts in General. Most Cited
        354k76 k. Supplies, Repairs, and Advances.         Cases
Most Cited Cases                                                Exculpatory, or red letter, clause may not limit
     Where shipyard held itself out as competent           liability on marine contract for gross negligence be-
shipyard skilled in doing type of work requested by        cause harm wilfully inflicted or caused by gross or
shipowner, the latter had right to rely on expertise       wanton negligence operates to invalidate exemption
of shipyard and had reason to expect stable sea-           from liability.
worthy vessel upon completion of repairs, regard-
less of condition of vessel prior to repairs.              [16] Damages 115          96

[13] Shipping 354        76                                115 Damages
                                                              115VI Measure of Damages
354 Shipping                                                     115VI(A) Injuries to the Person
       354V Rights and Liabilities of Vessels and                     115k96 k. Discretion as to Amount of
Owners in General                                          Damages. Most Cited Cases
        354k76 k. Supplies, Repairs, and Advances.
Most Cited Cases                                           Damages 115         104
     While shipyard's efforts to repair vessel were
                                                           115 Damages
negligent, they were not grossly negligent, as would
                                                              115VI Measure of Damages
vitiate red letter clause in repair contract that pre-
                                                                 115VI(B) Injuries to Property
cluded recovery for loss of use and loss of profit,
                                                                     115k104 k. Discretion as to Amount of
though shipyard initially did not know quality of
                                                           Damages. Most Cited Cases
steel on ship's hull and ultimately abandoned any
effort at repair, in light of shipyard's reasonable be-    Damages 115         119
lief that it could perform repairs, its efforts to de-
vise acceptable welding procedures and its attempts        115 Damages
to remedy damage it caused.                                   115VI Measure of Damages
                                                                 115VI(C) Breach of Contract
[14] Shipping 354        75                                          115k119 k. Discretion as to Amount of
                                                           Damages. Most Cited Cases




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Federal Courts 170B           871                                       157k571 Nature of Subject
                                                                              157k571(10) k. Damages. Most
170B Federal Courts                                         Cited Cases
   170BVIII Courts of Appeals                                   Damage award of $220,000 to shipowner for
       170BVIII(K) Scope, Standards, and Extent             shipyard's negligence and breach of contract, in
           170BVIII(K)5 Questions of Fact, Verdicts         connection with hull replacement work that
and Findings                                                shipyard either failed to do or negligently per-
              170Bk870 Particular Issues and Ques-          formed, was supported by expert testimony of mar-
tions                                                       ine surveyor regarding valuation and cost of re-
                   170Bk871 k. Damages and Extent           pairs.
of Relief. Most Cited Cases
     Trial court, as fact-finder, possesses consider-       [20] Damages 115        67
able discretion in fixing damages, and its decision
will be upheld absent clear error.                          115 Damages
                                                                115III Grounds and Subjects of Compensatory
[17] Damages 115          222                               Damages
                                                                  115III(C) Interest
115 Damages                                                          115k66 Interest
   115X Proceedings for Assessment                                           115k67 k. Element of Damages in
       115k219 Verdict and Findings                         General. Most Cited Cases
           115k222 k. Findings by Court or Referee.
Most Cited Cases                                            Shipping 354       76
     As threshold requirement, trial court must ex-
pose measure of damages and method of computa-              354 Shipping
tion, both to inform litigants of basis for its findings         354V Rights and Liabilities of Vessels and
and to afford appellate court possibility of intelli-       Owners in General
gent review.                                                       354k76 k. Supplies, Repairs, and Advances.
                                                            Most Cited Cases
[18] Shipping 354        76                                     Damage award of $220,000 to shipowner for
                                                            shipyard's negligence and breach of contract, in
354 Shipping                                                connection with hull replacement work that
      354V Rights and Liabilities of Vessels and            shipyard either failed to do or negligently per-
Owners in General                                           formed, was not erroneous to extent it did not limit
        354k76 k. Supplies, Repairs, and Advances.          recovery to scrap value or did not award additional
Most Cited Cases                                            damages for interest, loans, and loss of use.
     Damage award of $10,999 to shipyard for re-
pair work performed on ship was supported by                *12 Harry A. Ezratty, for La Esperanza de P.R.,
shipyard's invoice, as adjusted to disallow any re-         Inc.
covery for hull replacement work that shipyard
either failed to do or negligently performed.               Juan A. Lopez-Conway, with whom Paul E.
                                                            Calvesbert and Calvesbert, Alfaro & Lopez-Con-
[19] Evidence 157         571(10)                           way, were on brief, for Perez y Cia. de Puerto Rico,
                                                            Inc.
157 Evidence
   157XII Opinion Evidence
      157XII(F) Effect of Opinion Evidence                  Before STAHL, Circuit Judge, ALDRICH, Senior
         157k569 Testimony of Experts                       Circuit Judge, and CYR, Senior Circuit Judge.




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STAHL, Circuit Judge.                                                FN1. We note that LA ESPERANZA was
     This consolidated admiralty case involves a                     sold at public auction by the U.S. Marshals
dispute between a shipowner and a shipyard over                      Service in July 1996 pursuant to its status
repairs to a vessel, S/V LA ESPERANZA, that                          as the in rem defendant in the Perez
were begun but never completed. It comes to us on                    shipyard's cause of action. The district
cross-appeals following a bench trial in which the                   court granted the shipyard's motion for
district court entered judgment, first, in favor of                  confirmation of sale and ordered the Mar-
Perez y Cia de Puerto Rico, Inc. (“the shipyard” or                  shals Service to issuea bill of sale convey-
“Perez”) in the amount of $10,999 in its collection                  ing title to LA ESPERANZA to one Jose
action for unpaid work performed pursuant to con-                    L. Novas Debien. Our use of the word
tract, and, second, in favor of La Esperanza de Pu-                  “shipowner” in this opinion refers exclus-
erto Rico, Inc. (“the shipowner”) in the amount of                   ively to La Esperanza de Puerto Rico, Inc.
$220,000 in its separately brought action for dam-
ages resulting from Perez's negligence and breach               As we do not believe that the district court's de-
of contract. See Perez Y Cia. de P.R., Inc. v. S/V La       terminations were clearly erroneous, we affirm.
Esperanza, 899 F.Supp. 861 (D.P.R.1995).
                                                                     Background and Prior Proceedings
     On appeal, Perez argues that the district court's          We state the facts consistent with the district
findings of fact and conclusions of law are erro-           court's findings. See id. at 862-65.
neous. It contends that the district court erred in
                                                                The S/V LA ESPERANZA (“the vessel” or
finding that it was negligent and in breach of its
                                                            “the ship”) is an eighty-eight foot, steel-hulled,
contractual obligations and argues both that the
                                                            diesel-powered, auxiliary sail schooner*13 built in
shipowner's contributory negligence caused the                                          FN2
                                                            1896 in Antwerp, Belgium.        Her hull consists of
damages that are in issue here and that the ship was
                                                            an older type of steel, akin to wrought iron, that is
worthless when it first arrived at the shipyard,
                                                            no longer used in the construction of ships. The
thereby obviating the district court's award of dam-
                                 FN1                        seams of the ship's hull and frames are rivetted and
ages in favor of the shipowner.        For its part, the
                                                            welded.
shipowner accepts the district court's findings of
fact, but seeks to ascribe error to the district court's             FN2. The district court's opinion lists the
conclusions of law. Its argument on appeal is that                   ship's length as 122 feet. However, the
the court erred in enforcing a “red letter clause” in                Coast Guard certificate of inspection and
the ship repair contract that limited the shipyard's                 the relevant marine surveys of the vessel
liability by precluding recovery for loss of use and                 contained in the record indicate a length of
loss of profits in the event of a breach. The                        eighty-eight feet. While our review fails to
shipowner argues that the liability limitation clause                account for the discrepancy between these
was vitiated on the facts found by the district court                figures, we note that it is of no con-
because the shipyard's actions, on such facts, con-                  sequence to the legal result in this case.
stituted gross negligence, not ordinary negligence
as the district court concluded. Finally, both parties           Julio R. Matos and Enrique Cardona (the prin-
take issue with the district court's measure of dam-        cipals of La Esperanza de Puerto Rico, Inc.) bought
ages. The shipyard argues that the district court           LA ESPERANZA in 1990 for $40,000 with the ap-
erred by ordering it to pay too much; the shipown-          parent purpose of refitting her as a passenger vessel
er, on the contrary, argues that the district court         for use as a tourist attraction and for sightseeing
erred by not ordering the shipyard to pay more.             harbor tours of San Juan, Puerto Rico. To this end,
                                                            the ship underwent extensive reconstruction and re-




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pairs at Vaello Shipyard in Puerto Rico from 1990                    ation of this percentage, considerable
to 1992. This work was overseen and approved by                      judgment is called for depending upon
the U.S. Coast Guard, which is charged by law to                     the location and extent of wasted materi-
inspect passenger vessels and to certify them for                    al. Localized wastage of some portions
operation. Among the many other things done while                    of plates ... in excess of 25 percent may
the ship was at Vaello, the thickness of the ship's                  be accepted in many cases, if the condi-
hull was tested in accordance with applicable Coast                  tion of the adjacent material is suffi-
Guard guidelines by drilling holes at various points                 ciently good to maintain an adequate
to determine those areas that were “wasted” (i.e.,                   margin of strength.” Id. Indeed, Coast
excessively deteriorated or corroded) and in need of                 Guard inspectors are afforded a wide lat-
                                           FN3
either immediate or eventual replacement.        This                itude of discretion in dealing with the
drillhole gauging indicated that various parts of the                various hull deficiencies they may en-
hull were in fact wasted. On the basis of these find-                counter upon inspection of a vessel.
ings, eight hull plates were replaced in accordance                  They must “first evaluate if seaworthi-
with welding procedures developed by Vaello,                         ness is compromised or not” by these de-
which had the responsibility for designing the pro-                  ficiencies, a decision that calls for
                                   FN4
cedures for Coast Guard approval.                                    “considerable discretion because the line
                                                                     of demarcation between what is sea-
        FN3. The Coast Guard considers deficien-                     worthy and what is not, is necessarily
        cies in the thickness of hull plating to be a                approximate and subject to some range
        safety concern for steel-hulled vessels be-                  of interpretation.” Id. at 2. Among the
        cause such deterioration, much like buck-                    factors that Coast Guard inspectors
        ling, cracks, or fractures, “may affect the                  “must” weigh in evaluating a particular
        strength or integrity of the hull to an extent               vessel's hull is “[w]hether the repair
        which would make it unseaworthy.” See                        work contemplated is necessary to re-
        United States Coast Guard, Navigation and                    store seaworthiness or is a maintenance
        Vessel Inspection Circular No. 7-68; En-                     measure to insure prolonged utilization
        closure (1)-Notes on Inspection and Repair                   of the vessel.” Id. “In the first case, re-
        of Steel Hulls at 1 (1968) [hereinafter                      pair must be required. In the second
        NAVIC ]. Coast Guard inspection                              case, the details of the condition should
        guidelines provide that the present thick-                   be reconsidered at a future inspection
        ness of hull plates is to be compared to                     and, possibly, called to the attention of
        their original thickness as a means of                       the owner so that he may exercise his
        gauging their present condition. Id. at 3-4.                 own good judgement.” Id.
        “Wastage” refers to the percentage of the
        original thickness that has deteriorated.                  FN4. Coast Guard guidelines require that
        Thus, a plate with twenty-five percent                     hull replacements, and in particular, the
        wastage has lost twenty-five percent of its                welding and rivetting procedures used in
        original thickness. Id. at 4.                              marrying new steel plates to existing older
                                                                   plates, conform with applicable standards
           Under Coast Guard guidelines, “a local                  and gain Coast Guard approval. See, e.g.,
           thickness deterioration of up to about 25               NAVIC at 24-35 (discussing proper weld-
           percent may be accepted before replace-                 ing and rivetting procedures).
           ment is necessary,” id. at 7, but this is
           not a hard-and-fast rule. “[I]n the applic-         LA ESPERANZA's overhaul was completed




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during the summer of 1992. The total cost of the re-      wasted twenty-five percent or more from its origin-
fitting was financed by loans totalling almost            al thickness. In view of the test results, the Coast
$2,175,000. The refurbished ship had a replacement        Guard required that eighty percent of the hull be re-
value of $4.8 million, a physical value of $3.5 mil-      placed, but agreed to allow the shipowner to do the
lion, and an estimated value of $2.8 million. For ac-     replacement work in stages. As an immediate mat-
counting purposes, the vessel's book value was lis-       ter, the shipowner was required to replace the
ted as $1,704,000.                                        twelve hull plates that were wasted fifty percent or
                                                          more.
     The Coast Guard issued a certificate of inspec-
tion for the vessel, which indicated the route that            On March 17, the shipowner and the shipyard
LA ESPERANZA was permitted to run and condi-              signed a contract for repairs, with the shipowner
tions on the manner of her operation. Specifically,       paying a deposit of $40,000. The shipyard's quoted
the Coast Guard limited LA ESPERANZA, inter               estimate of $71,947.20 included, among other
alia, to carrying no more than seventy-five passen-       things to be done, the replacement of twelve hull
gers *14 and restricted her passage to “the protec-       plates. The contract encompassed an attached list of
ted waters of Bahia de San Juan ... within one mile       conditions. Under section 3(a) of that list, “[t]he
of shore .... [and] to the waters shoreward of buoys      Yard commits itself to use materials and execute
5 and 6 of the Anegado Channel.” The certificate of       work to standard ship repair practice.” Section 3(b)
inspection further provided that the ship, when op-       provided the shipyard the right to “make good at its
erating its sails, could only set her inner and outer     own workshops and expense any defective work or
jibs while passengers were on board, but also indic-      material [that it] supplied,” although the shipowner
ated that up to 150 passengers were allowed on            retained an option to demand, in lieu of such per-
deck when the ship “operate[d] as a moored attrac-        formance, “a sum equal to the cost of such repair.”
tion vessel.”                                             Finally, section 5 provided that “[t]he yard shall in
                                                          no case be held responsible for the damages result-
    Under these conditions, the vessel thereafter         ing from any loss of use or profit of the vessel.”
began its passenger service around San Juan Bay.
On average, LA ESPERANZA made two trips per                    The shipowner hired welders to do the hull re-
day on weekdays and made three or four daily runs         placement work. Despite the fact that the welders
on weekends. She was also available for rent for          did not know the type of steel used in LA ESPER-
private events.                                           ANZA's hull, or the fact that it was an older type of
                                                          steel no longer used in ship construction, on March
     On March 4, 1994 the shipowner took LA ES-           18 they began cutting into the ship's hull with
PERANZA to the Perez shipyard in San Juan for             torches in order to remove five of the twelve plates
repairs to her rudder deemed necessary by the             slated for replacement. This work caused a fire with
Coast Guard. Seeing as the vessel would be dry-           resulting damage to the ship's electrical system.
docked for the rudder repair, the shipowner decided       While the method used to remove the hull plates
to accelerate an overall hull inspection that was         did not require Coast Guard approval, the method
scheduled for the following month. The Coast              for their replacement did. After initial plans were
Guard inspected the hull and, on March 10, indic-         rejected by the Coast Guard, the shipyard's contract
ated that all hull plates with wastage in excess of       manager, Miguel Nin, together with the yard's
fifty percent had to be replaced. The shipyard sub-       welding subcontractor, drafted another set of weld-
contracted with another firm to perform ultrasonic        ing procedures that they gave to the shipowner to
gauging of the hull in order to identify the candid-      present to the Coast Guard for approval, but the
ate plates for replacement. This audio gauging re-        Coast Guard did not approve the newly submitted
vealed that eighty percent of the ship's hull was




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procedures. As a consequence, all hull replacement         though these too soon began to develop cracks. Sur-
work on the vessel stopped pending development of          veys conducted at about this time, May and June
new welding procedures.                                    1994, revealed that the vessel was tilting to one side
                                                           because the ballast initially removed in order to
     It rapidly became apparent, however, that the         gain access to the hull plates for the removal opera-
Perez shipyard did not possess the ability to per-         tion had never been replaced. Indeed, when the
form the hull replacement work on LA ESPER-                shipyard refloated LA ESPERANZA, it had placed
ANZA. Nevertheless, on April 6, the shipyard wel-          concrete blocks on the upper deck in lieu of the
ded five temporary doubler plates onto the hull            ship's ballast. During this period, the damaged up-
areas where plates had already been removed. This          per deck itself collected about an inch of water. The
welding was done too quickly and with excessive            surveys revealed that the cost of repairing the ves-
heat, causing the older steel of the hull to crack and     sel to correct the problems with the hull, to repair
rivets to loosen.                                          the damaged upper deck, and to replace damaged
                                                           wiring, electrical equipment, and carpeting would
     During this period, the shipowner and shipyard
                                                           be between $180,000 and $220,000, not including
met to discuss the welding procedure problem. The
                                                           any possible hidden damages that could not be
parties met one last time on May 20, 1994 to dis-
                                                           readily detected while the ship was still in the wa-
cuss what arrangements would be made for the ves-
                                                           ter.
sel in light of the welding difficulties. Although no
solution to LA ESPERANZA's predicament was                      The shipyard subsequently filed a collection
*15 forthcoming, the shipyard produced a bill for          action in federal district court, in personam against
$73,999 for the unfinished hull work and other re-         the shipowner and in rem against the vessel itself,
pairs that it had already done on the ship. Subtract-      for the money it alleged it was owed for the repair
ing the $40,000 deposit that the shipowner had pre-        work it had performed on LA ESPERANZA. The
viously paid, the shipyard demanded payment for            shipowner filed a separate action against the
the remaining balance of $33,999.                          shipyard for the damages it alleged it suffered as a
                                                           result of the shipyard's negligence in performing
     The shipowner refused to pay. On May 22,
                                                           the repair contract. A consolidated trial before the
1994, anxious to get other ships into its only dry
                                                           district court sitting in admiralty without a jury was
dock facility, which LA ESPERANZA had now oc-
                                                           held in September 1995. The court awarded the
cupied for some two months, the shipyard moved
                                                           shipyard $10,999 on its contract collection claim,
the ship from the dry dock and refloated it. Perez
                                                           an amount corresponding to the work that the
then moved the vessel, operating under its own
                                                           shipyard actually did on the vessel, minus the
power, to its tender dock area, an area akin to a
                                                           amount billed for the defective hull replacement
floating junk yard. The shipyard recommended two
                                                           work. The court similarly awarded the shipowner
welding experts that the shipowner could hire to de-
                                                           $220,000 for the damages it sustained as a result of
velop a welding plan for Coast Guard approval. The
                                                           the shipyard's negligence in performing the repair
shipyard hired one of the two recommended ex-
                                                           work, an amount corresponding to the cost needed
perts, but the expert failed to produce a plan.
                                                           to repair the damages to the vessel and to return LA
     Meanwhile, the refloated vessel was taking on         ESPERANZA to the condition it was in before it
water through the cracks in her hull caused by the         entered the Perez shipyard. The parties filed mo-
faulty plate removal and the welding of the tempor-        tions for additional findings of fact and conclusions
ary plates. The ship was once again removed from           of law that were denied by the court. These cross-
the water, water was pumped out, and soft patches          appeals followed.
using rubber and metal were used to plug leaks,




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                 Standard of Review                        in breach of contract. It argues that the shipowner is
     [1][2] We review a district court's bench trial       really to blame for the damages to LA ESPER-
findings of fact for clear error. See Fed.R.Civ.P.         ANZA and for the fact that the hull repairs were
52(a); McAllister v. United States, 348 U.S. 19, 20,       never completed. It thus contends that the shipown-
75 S.Ct. 6, 7-8, 99 L.Ed. 20 (1954); Puerto Rico           er was not entitled to the $220,000 awarded by the
Ports Auth. v. M/V Manhattan Prince, 897 F.2d 1, 3         district court. Even if it was negligent, the shipyard
(1st Cir.1990). We deem a finding to be clearly er-        insists, the ship was worthless, thus making the dis-
roneous “only when, after reviewing the entire re-         trict court's measure of damages erroneous.
cord, we are ‘left with the definite and firm convic-
tion that a mistake has been committed.’ ” Clement              The shipowner counters that the district court's
v. United States, 980 F.2d 48, 53 (1st Cir.1992)           error consists in not realizing that the facts it found
(quoting Deguio v. United States, 920 F.2d 103,            constituted gross negligence, not ordinary negli-
105 (1st Cir.1990) (quoting United States v. United        gence. Because the district court incorrectly de-
States Gypsum Co., 333 U.S. 364, 395, 68 S.Ct.             cided the gross negligence issue, the shipowner ar-
525, 542, 92 L.Ed. 746 (1948))).                           gues, it also incorrectly concluded that the
                                                           shipyard's liability did not extend to loss of the ves-
     [3] Likewise, “[w]e review questions of negli-        sel's use and loss of profit because of the red letter
gence” decided in a bench trial “under the clearly         clause contained in the repair contract. That clause,
erroneous standard.” Id. (citing Goudy & Stevens,          the shipowner argues, precludes recovery for loss
Inc. v. Cable Marine, Inc., 924 F.2d 16, 19 (1st           of the vessel's use and loss of profits in instances
Cir.1991)), Deguio, 920 F.2d at 105, and Obolensky         involving ordinary negligence, but not in circum-
v. Saldana Schmier, 409 F.2d 52, 54 (1st Cir.1969).        stances involving gross negligence.
In using this standard, our practice accords with the
Supreme Court's characterization of negligence*16               [4][5] We address the parties' various claims
and causation as issues of fact, see McAllister, 348       under federal maritime law because “[a]dmiralty
U.S. at 20-23, 75 S.Ct. at 7-9, and is consonant with      jurisdiction brings with it a body of federal juris-
the rule applied in virtually all our sister circuits,     prudence, largely uncodified, known as maritime
which similarly treat a bench trial finding that a         law.” In re Ballard Shipping Co. v. Beach Shellfish,
party was negligent as a question of fact, or mixed        32 F.3d 623, 625 (1st Cir.1994) (citing East River
question of fact and law, and thus do not reverse          S.S. Corp. v. Transamerica Delaval, 476 U.S. 858,
such a finding unless clearly erroneous. See gener-        864, 106 S.Ct. 2295, 2298, 90 L.Ed.2d 865 (1986));
ally Charles Alan Wright & Arthur Miller, 9A Fed-          see also Yamaha Motor Corp., U.S.A. v. Calhoun,
eral Practice and Procedure § 2590 at 620-28 (2d.          516 U.S. 199, ----, 116 S.Ct. 619, 623, 133 L.Ed.2d
ed.1995) (discussing cases); Steven Alan Childress         578 (1996). While a contract to construct a ship
& Martha S. Davis, 1 Federal Standards of Review           falls outside federal admiralty jurisdiction because
§ 2.28 at 2-220 to 2-227 (2d. ed.1992) (same). But         it is “a contract made on land, to be performed on
see Mamiye Bros. v. Barber S.S. Lines, Inc., 360           land,” People's Ferry Co. v. Beers, 61 U.S. (20
F.2d 774, 776-78 (2d Cir.1966) (per Friendly, J.)          How.) 393, 402, 15 L.Ed. 961 (1857), contracts for
(distinguishing McAllister as a causation case and         repairs to a vessel or for its substantial reconstruc-
holding that clear error standard does not apply to        tion come under the scope of admiralty jurisdiction.
trial court's determination of negligence).                See Kossick v. United Fruit Co., 365 U.S. 731, 735,
                                                           81 S.Ct. 886, 890, 6 L.Ed.2d 56 (1961) (contrasting
           Negligence, or No Negligence?                   ship repair and construction); New Bedford Dry
     On appeal, the shipyard contends that the dis-        Dock Co. v. Purdy, 258 U.S. 96, 42 S.Ct. 243, 66
trict court erred in finding that it was negligent and     L.Ed. 482 (1922); see also 28 U.S.C. § 1333




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(granting exclusive federal jurisdiction in “[a]ny        breach of implied warranty of workmanlike service,
civil case of admiralty”); cf. Thomas J. Schoen-          albeit that such performance was done without neg-
baum, 1 Admiralty and Maritime Law at 111-12 (2d          ligence.” SS Amazonia v. New Jersey Export Mar-
ed.1994). In the absence of a relevant statute, the       ine Carpenters, Inc., 564 F.2d 5, 8 (2d Cir.1977)
judicially-developed norms of the general maritime        (citing Italia Societa v. Oregon Stevedoring Co.,
law, “an amalgam of traditional common-law rules,         376 U.S. 315, 324, 84 S.Ct. 748, 754, 11 L.Ed.2d
modifications of those rules, and newly created           732 (1964) and Ryan, 350 U.S. at 133, 76 S.Ct. at
rules,” govern actions in admiralty. East River S.S.,     237). Finally, federally developed maritime law ap-
476 U.S. at 865, 106 S.Ct. at 2299.                       plies both when a court construes the terms of a re-
                                                          pair contract and when it construes the standard of
     [6][7][8][9][10] We thus must evaluate the           performance due thereunder. See Alcoa S.S., 383
merits of the parties' claims against “substantive        F.2d at 50 (citing Booth S.S. Co. v. Meier & Oelhaf
rules and precepts peculiar to the law of the sea.”       Co., 262 F.2d 310 (2d Cir.1958) and Southport
Schoenbaum, supra, at 156 (discussing cases). Un-         Transit Co. v. Avondale Marine Ways, Inc., 234
der this body of law, a shipowner may sue in either       F.2d 947 (5th Cir.1956)).
tort or contract for negligent repairs to his vessel.
See Todd Shipyards Corp. v. Turbine Serv., Inc.,               [11] In this case, the shipyard argues that it was
674 F.2d 401, 412 (5th Cir.1982); Alcoa S.S. Co. v.       not negligent or in breach of contract because the
Charles Ferran & Co., 383 F.2d 46, 50 (5th                shipowner, not it, was really at fault for the fact that
Cir.1967). A ship repairer potentially faces three        the hull repairs were never completed. The crux of
sources of liability for repairs he performs improp-      the shipyard's theory is that the Coast Guard did not
erly on a vessel. He may be liable in contract for a      disapprove the welding plans for the twelve plates
breach of his expressly assumed obligations or for a      it was supposed to replace because of the method
breach of an implied warranty of workmanlike per-         by which the shipyard proposed to do the job, but
formance that attaches to admiralty contracts under       rather because, at the insistence of the shipowner,
the rule of *17Ryan Stevedoring Co. v. Pan-At-            an insufficient number of plates were to be re-
lantic S.S. Corp., 350 U.S. 124, 76 S.Ct. 232, 100        moved. The shipyard argues that it cannot be faul-
L.Ed. 133 (1956). See Alcoa S.S. Co. at 50; see also      ted for the fact that the Coast Guard found the
Employers Ins. of Wausau v. Suwannee River Spa            scope of the hull replacements inadequate or for the
Lines, Inc., 866 F.2d 752, 763 n. 17 (5th Cir.1989).      fact that the shipowner failed to provide the Coast
A ship repairer may also be liable for the maritime       Guard with a comprehensive plan detailing how
tort of negligence. See Alcoa S.S., 383 F.2d at 50.       and when a full eighty percent of the hull with
See generally Schoenbaum, supra, at 183-84                wastage of twenty-five percent or more would be
(collecting cases). Importantly, negligence causes        replaced-as the Coast Guard was requiring. The
of action in admiralty invoke the principles of mari-     shipyard's theory, in short, is that it could not act to
time negligence, not those of the common law. See         repair the vessel until the Coast Guard approved the
Pope & Talbot, Inc. v. Hawn, 346 U.S. 406,                repairs, and the Coast Guard would not approve the
408-09, 74 S.Ct. 202, 204-04, 98 L.Ed. 143 (1953).        repairs until the shipowner acted by submitting a
Moreover, while the implied warranty of workman-          comprehensive plan for replacing eighty percent of
like performance “parallel[s] a negligence standard       the hull, not just the twelve plates scheduled for re-
rather than imposing [the] strict liability” that at-     moval and replacement under the contract.
taches to implied warranties in land-based contracts
under the Uniform Commercial Code, see Employ-                The record simply does not support this argu-
ers Ins., 866 F.2d at 763 n. 17, “a shipowner may         ment. In the first place, contrary to the shipyard's
receive indemnity from a marine contractor for            contentions, the record does not substantiate the




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view that the Coast Guard disapproved the welding          ing that the shipyard's inability to devise appropri-
procedures notwithstanding the shipyard's submis-          ate welding procedures precluded the shipowner
sion of proper welding procedures. Neither does the        from submitting a comprehensive repair plan for
record support the shipyard's alternative argument         the ship's hull with the Coast Guard, not the other
that the Coast Guard “neither approved or disap-           way around. “Basically what we were looking for,”
proved” welding procedures that it submitted be-           Sharpe explained in discussing the requirements for
cause the Coast Guard was not about to deliberate          approval of the repairs to LA ESPERANZA, “was a
in the absence of a comprehensive plan for addi-           proposal on how to repair all of the wasted steel....
tional repairs to LA ESPERANZA. In his depos-              [T]hat repair proposal ... was supposed to include
ition, Lt. Comdr. Randal B. Sharpe, the Coast              what areas of plate would be replaced; a time-line
Guard officer in charge of marine safety in San            for replacement, and how the plate would be re-
Juan during the relevant period of this dispute, was       placed.” (emphasis added). Because neither the
asked to describe the purpose of the welding pro-          shipyard nor its welding contractor ever devised a
                                            FN5
cedures submitted to the Coast Guard.             He       welding plan that was acceptable to the Coast
answered that “the purpose of that document was to         Guard on the issue of how the first set of hull plates
show us, the Coast Guard, how the shipyard inten-          would be replaced, it is difficult to see how the
ded to weld the new plate to the old iron hull.”           shipowner, the shipyard, or anyone else could have
When asked whether that proposal met Coast Guard           compiled a comprehensive plan detailing a schedule
requirements, Lt. Comdr. Sharpe responded, “Parts          for the more protracted process of taking out and
of the proposal do, yes; parts of the proposal do          replacing yet other hull sections. It would thus ap-
not.” The parts of the proposal that were accept-          pear that the shipyard's successful development of a
able, he continued, were those above the load water        welding procedure acceptable to the Coast Guard
line, thereby indicating that those below the water        was a constructive condition precedent to formula-
line (which presumably were of *18 greater signi-          tion of a comprehensive plan, and overall Coast
ficance to the vessel's seaworthiness) were not ac-        Guard approval, rather than vice versa. In any
ceptable. Thus, even if Lt. Comdr. Sharpe's depos-         event, we detect no clear error in the district court's
ition substantiates the uncontroverted fact that no        implicit allocation of blame on this issue.
comprehensive plan was submitted (which it does
in parts not reproduced here), it also substantiates            Accordingly, the shipyard's contention that it
other record evidence that the shipyard's method of        was not liable for negligent performance of the con-
work, in any event, did not pass muster.                   tract cannot withstand close scrutiny. Here, one
                                                           witnesses a ship that came in for repairs under her
         FN5. We note that both parties took Lt.           own power. Pursuant to a valid, written contract,
         Comdr. Sharpe's deposition knowing that           the shipyard began to make the repairs, but some-
         he would be unavailable to testify at trial.      where, somehow, something went wrong. Although
                                                           the shipyard manager, Miguel Nin, knew that LA
    Furthermore, Lt. Comdr. Sharpe's deposition            ESPERANZA's hull was of an older type steel, and
supports the view of other witnesses at trial that the     despite the fact that the undisputed evidence re-
shipyard bore the responsibility of furnishing the         vealed that the special quality of LA ESPER-
Coast Guard with appropriate welding procedures            ANZA's steel should have been readily apparent to
because it was a matter of “technical nature,” mean-       any reasonably competent ship repair professional,
ing that it was something that “would normally             the welders that Perez hired to cut into LA ESPER-
have been submitted either by the shipyard or by           ANZA did not know what type of steel they were
the welding contractor who was going to perform            dealing with when they cut into the ship's hull with
the work.” Finally, his deposition supports a find-        torches. The method of cutting they employed




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caused damage to the ship and, to condense a long          thus constituted a breach of an express and implied
story, the contracted-for repairs were never com-          contractual obligation, particularly in view of the
pleted. Instead of remedying the error and giving          fact that evidence in the record substantiates that
the vessel back to the shipowner, the shipyard             similarly situated ship repairers could have devised
patched the holes it had already made by welding           appropriate welding procedures and replaced the
on temporary plates, causing even more damage to           hull plates in question. On this record, we cannot
the hull. The shipyard then refloated the ship,            ascribe any clear error to the district court's determ-
which by now was in worse condition than it was            ination that the shipyard was negligent in its man-
prior to arriving for repairs, and placed the ship in      ner of performing the contracted-for repairs.
its tender dock area. Finally, seeking to extricate it-
self from a predicament of its own making, the                       Negligence or Gross Negligence?
shipyard told the shipowner, essentially, that it (the          [13] We turn next to the shipowner's argument
shipowner) had a problem on its hands, and maybe           that the shipyard's actions amounted to gross negli-
it should consider hiring a special welding consult-       gence, not ordinary negligence, and thereby vitiated
ant.                                                       the red letter clause in the contract limiting the
                                                           shipyard's liability by precluding recovery for loss
     [12] This attempt to evade responsibility and         of the vessel's use and loss of profit. Whatever else
escape liability is unavailing. Where the shipyard,        may be said here, we are not convinced that the dis-
like Perez here, “held itself out as a competent           trict court committed clear error when it determined
shipyard skilled in” doing the type of work reques-        that the shipyard, though negligent, was not grossly
ted by the shipowner, the latter “had a right to rely      negligent in how it undertook to repair the vessel or
on the expertise of [the shipyard] and had reason to       in how it dealt with it while in its custody.
expect a stable seaworthy vessel upon completion
of the repairs, regardless of the condition of the              [14][15] While exculpatory clauses-commonly
boat[ ] prior to repairs.” Empacadora Del Norte,           referred to as red letter clauses-were traditionally
S.A., v. Steiner Shipyard, Inc., 469 F.Supp. 954,          disfavored by courts sitting in admiralty, see, e.g.,
962 (S.D.Ala.1979). The contract between the               Bisso v. Inland Waterways Corp., 349 U.S. 85, 75
parties does not evince any manifestation of an in-        S.Ct. 629, 99 L.Ed. 911 (1955) (refusing to enforce
tent to deviate from this principle. On the contrary,      a clause absolving a towing company from all liab-
under section 3(a) of the appended list of condi-          ility for its negligent acts), such clauses are today
tions, “[t]he Yard commit[ted] itself to use materi-       routinely enforceable. See East River S.S., 476 U.S.
als*19 and execute work to standard ship repair            at 873, 106 S.Ct. at 2303 (indicating that a marine
practice.” This contractual clause manifests an in-        contractor “can restrict its liability within limits by
tent to bind the shipyard expressly to the otherwise       disclaiming warranties or limiting remedies”
implied warranty of workmanlike performance in             (emphasis added)). Accordingly, courts today will
marine contracts. In any event, “[t]his warranty           enforce red letter clauses that are expressed clearly
need not be express to bind the ship repairer to use       in contracts entered into freely by parties of equal
the degree of diligence, attention and skill adequate      bargaining power, provided that the clause not
to complete the task. ” Little Beaver Enters. v.           provide for a total absolution of liability. See Ed-
Humphreys Rys., Inc., 719 F.2d 75, 78 (4th                 ward Leasing Corp. v. Uhlig & Assocs., Inc., 785
Cir.1983) (emphasis added) (citing Coffman v.              F.2d 877, 888 (11th Cir.1986); Todd Shipyards, 674
Hawkins & Hawkins Drilling Co., 594 F.2d 152               F.2d at 410; Alcoa S.S., 383 F.2d at 46. The ra-
(5th Cir.1979) and Tebbs v. Baker-Whiteley Towing          tionale for upholding such clauses, “so long as no
Co., 407 F.2d 1055 (4th Cir.1969)). The shipyard's         overreaching is found,” Edward Leasing, 785 F.2d
failure to complete the hull replacement repairs           at 888, “is predicated upon the consideration that




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businessmen can bargain over which party is to                   As our previous discussion indicates, there was
bear the risk of damage and set the price accord-          no clear error on the district court's part in determ-
ingly, thus achieving a more rational distribution of      ining that such actions breached the shipyard's duty
the risk [and allocation of price] than the law would      of care to the shipowner. A more difficult question
otherwise allow.” Jig The Third Corp. v. Puritan           to be resolved is the finding necessary to the district
Marine Ins. Underwriters Corp., 519 F.2d 171, 176          court's determination that the liability limitation
(5th Cir.1975). However, parties may not totally           clause in question was enforceable, viz., that the
absolve themselves of all liability and, more sub-         shipyard's actions did not amount to gross negli-
stantively, the prospective wrongdoer's “ ‘potential       gence. While the district court concluded that the
liability’ ” should be enough to “ ‘deter negli-           Perez shipyard “did not have the expertise to per-
gence.’ ” Edward Leasing, 785 F.2d at 888 (quoting         form the hull replacement work adequately,” we
Alcoa S.S., 383 F.2d at 55). A red letter clause, fi-      cannot say that it was clearly erroneous for the
nally, may not limit liability on a marine contract        court to conclude that Perez did not act in such a
for gross negligence because “ ‘harm wilfully in-          way as to wilfully inflict harm on LA ESPER-
flicted or caused by gross or wanton negligence,’ ”        ANZA or to cause her damage in wanton and gross
operates to “invalidate an exemption from liabil-          disregard of the vessel or the shipowner's interests
ity.” Todd Shipyards, 674 F.2d at 411 (quoting 6A          in it. See Todd Shipyards, 674 F.2d at 411.
Corbin On Contracts § 1472 (1964 ed.)).
                                                                The shipyard's subcontracted welders admit-
     The shipowner submits that the shipyard knew          tedly did not know the quality of the steel on which
that LA ESPERANZA was made of older steel, but             they were working when they cut into LA ESPER-
nevertheless hired welding subcontractors who pro-         ANZA, and because of that failed to adopt the
ceeded to cut into the vessel's hull without knowing       proper heat mixture, causing damage to the ship.
the nature of the steel they were working on, caus-        But, the record substantiates that the circumstances
ing damage to the ship. Moreover, after the                of this misstep more closely approximate a failure
shipyard failed to provide welding plans acceptable        to exercise due care, rather than some modicum of
to the Coast Guard and after it became apparent that       reckless abandon. Nor did the shipyard completely
the shipyard did not have the expertise to devise          ignore its contractual duties. All indications in the
such plans (as the district court found), the shipyard     record are that it strove in good faith to devise ac-
nonetheless proceeded to weld temporary plates             ceptable welding procedures, even if it was unsuc-
onto LA ESPERANZA's hull to cover the holes that           cessful and ultimately unable to do so. Moreover, it
had been already made, thereby rendering even              is not clear that it was unreasonable for the
more damage to the ship by causing the steel in the        shipyard to believe that it could repair the ship's
hull to crack and rivets to loosen. *20 The shipyard       hull. The shipyard manager, Miguel Nin, had con-
then refloated the vessel to get it out of dry dock,       siderable training and experience in marine repair,
repairs still uncompleted, and moored it with cracks       including advanced degrees in relevant fields of
that allowed water to seep into the hull. The              naval architecture. Moreover, as indicated above, at
shipowner also argues that the shipyard, among             least some portions of the plans that the shipyard
other things, improperly moored the vessel without         submitted met Coast Guard requirements. In addi-
shock-absorbing fenders, improperly secured it             tion, while the shipyard damaged the ship's hull
against vandals who made off with several radios           somewhat when it welded on temporary plates, it
and liquor from the ship's liquor cabinet, and im-         attempted to rectify the short-term damage to the
properly protected the ship's decks from damaging          vessel's seaworthiness by applying soft patches to
debris from a sandblasting operation performed             plug leaks and coordinated efforts with the ship's
near LA ESPERANZA.                                         captain to remove water that succeeded in entering




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the vessel. This feature of the record, too, militates              not presented him with a welding plan.
against a finding of gross negligence. Finally, while
it became apparent that the shipyard eventually                                *21 Damages
abandoned any effort to make good on its contrac-               Having determined the liability issues as to the
tual undertaking to repair the vessel, we cannot           parties, we turn finally to the question of remedies,
agree that a material breach of contract is tan-           where all of the parties “unite in attacking the dis-
tamount in this case to gross negligence.                  trict court's basis for assessing damages.” Todd
                                                           Shipyards, 674 F.2d at 412. On our full review of
     Because nothing in our full review convinces          the record we find no merit in either party's chal-
us that a finding of gross negligence was necessit-        lenge to the damages awarded by the district court.
ated on these facts, we cannot ascribe clear error to
the district court's determination that the liability           [16][17] We note that “[t]he trial court, as a
limitation clause in the contract between the parties      fact-finder, possesses considerable discretion in fix-
was enforceable on its terms. Thus, no recovery            ing damages, and its decision will be upheld absent
was available to the shipowner for loss of the ves-        clear error.” Little Beaver Enters., 719 F.2d at 79
sel's use or loss of profits because the contract un-      (citing Thompson v. National R.R. Passenger
ambiguously provides that “[t]he yard shall in no          Corp., 621 F.2d 814, 823 (6th Cir.1980)). As a
case be held responsible for the damages resulting         threshold requirement, however, the trial court
                                               FN6         “must expose ‘the measure of damages and method
from any loss of use or profit of the vessel.”
                                                           of computation,’ both to inform the litigants of the
         FN6. We need not consider at any great            basis for its findings and to afford the appellate
         length the shipowner's argument that the          court ‘a possibility of intelligent review.’ ” Id. at
         district court erred in refusing rebuttal         79-80 (quoting Safer v. Perper, 569 F.2d 87, 100
         testimony to that of the shipyard's man-          (D.C.Cir.1977)).
         ager, Miguel Nin. The shipowner sought to
         have a former Perez employee, Carlos                   [18] We turn first to consider the $10,999
         Claudio, testify that he had informed Nin         awarded the shipyard. While the shipowner on ap-
         of the special qualities of LA ESPER-             peal asks whether the district court erred in granting
         ANZA's steel and had given Nin a welding          the shipyard this relief, the shipowner does not suc-
         plan, which Nin rejected and ignored. The         ceed in demonstrating that the court's action in do-
         purpose of rebuttal testimony is to meet          ing so was clearly erroneous. On the contrary, the
         and reply to any new evidence offered by          shipowner concedes that the district court differen-
         an opponent. See United States v. Tejada,         tiated between negligent work performed and work
         956 F.2d 1256, 1266-67 (2d Cir.1992). De-         properly done to the vessel and awarded the
         terminations regarding what constitutes           shipyard $10,999 for satisfactorily completed non-
         proper rebuttal evidence are committed to         hull repair work. In fact, the district court's opinion
         the “sound discretion” of the trial court.        stated that it would disallow any recovery by the
         See Lubanski v. Coleco Indus., Inc., 929          shipyard for the hull replacement work that it either
         F.2d 42, 47 (1st Cir.1991). Here, we can          failed to do or negligently performed and would al-
         discern no apparent error because Nin,            low recovery only for the other work that it had ad-
         who testified that he was in fact aware that      equately performed pursuant to the contract. It thus
         the vessel's hull was made of a special           deducted $23,000 from the shipyard's $33,999 in-
         older-type steel, never testified that Clau-      voice, an amount equal to what the shipyard was
         dio had not informed him of the steel's           seeking for hull replacement work, and determined
         quality nor did he testify that Claudio had       that the shipyard was entitled to recovery on its col-
                                                           lection action in the amount of $10,999. See Perez y




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Cia. de P.R., 899 F.Supp. at 866. This determina-          the district court's generous award as to actual dam-
tion was not clearly erroneous and, therefore, the         ages *22 precludes a determination of clear error on
shipowner's argument is unavailing.                        appeal.

     [19] Similarly, we see no clear error in the                                Conclusion
court's decision to award the shipowner $220,000.              Having carefully reviewed the record in this
For its part, the shipyard argues that the district        case, we believe that the district court's determina-
court erred in accepting valuations of the ship's          tions as to liability and the proper measure of dam-
worth from the shipowner's expert witness, rather          ages recoverable by the respective parties in this
than its own expert witness, who testified that LA         dispute were not clearly erroneous. We thus discern
ESPERANZA was only worth her “scrap value,”                no cause to disturb the judgments rendered below.
i.e., was basically worthless. The gist of the
shipyard's contention here is that its expert was              Affirmed. No costs.
more qualified to render an appraisal value than the
                                                           C.A.1 (Puerto Rico),1997.
shipowner's expert, who was not an appraiser per
                                                           La Esperanza de P.R., Inc. v. Perez y Cia. de Puerto
se, but rather a marine surveyor. The record sub-
                                                           Rico, Inc.
stantiates, however, that marine surveyors like the
                                                           124 F.3d 10, 1998 A.M.C. 21
shipowner's expert routinely inspect and value ships
for insurance coverage purposes, prospective sales,        END OF DOCUMENT
and so forth, and are fully competent to offer their
professional opinion as to what a vessel is worth.
This is a classic case of dueling experts and it is not
reversible error that the district court was more per-
suaded by the range of valuations offered by the
shipowner's expert rather than the other way
around.

     [20] The shipowner, meanwhile, argues that the
district court should have awarded more than
$220,000 because it was entitled to loss of use and
interest paid on loans taken out to refit and repair
LA ESPERANZA. The shipowner's expert opined
that the cost of repairs to the vessel would have
been in the range of $180,000 to $220,000 plus pos-
sible “hidden damages” that were not easily ascer-
tained while the ship was still in the water. The dis-
trict court did not commit reversible error in accept-
ing the range of figures offered to it by the
shipowner's expert, in selecting the upper-most fig-
ure in that range, and then declining to exceed that
figure based on speculation about costs to repair
damage that might or might not exist. To the extent
that the shipowner is heard to complain that it
should not bear the burden of interest, loans, and
loss of use, we believe that the red letter clause and




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                                                               and remanded the case to this Court for further proceed-
Only the Westlaw citation is currently available.              ings. Becker v. Tidewater, Inc., 335 F.3d 376, (5th
                                                               Cir.2003). Following various procedural matters, a lim-
              United States District Court,                    ited second trial as held as an admiralty action, tried
                    W.D. Louisiana,                            without a jury, pursuant to Federal Rule of Civil Pro-
                  Lafayette Division.                          cedure 9(h). The Court has now completed a full review
                   Seth A. BECKER                              of the record, including all exhibits and memorandums,
                           v.                                  and fully consideration of the arguments of counsel and
              TIDEWATER, INC., et al.                          the applicable law.

               Civil Action No. 99-1198.                            The following issues were raised by the parties and
                     Oct. 30, 2007.                            are ruled on as follows:
              As Amended Nov. 14, 2007.
                                                                    1. Discovery and Admissibility of the Written Set-
James Parkerson Roy, Jamie D. Parker, Domengeaux               tlement Agreement (Doc. # 676)-the Court finds the set-
Wright et al., Lafayette, LA, Carla M. Perron, Houston,        tling parties complied with existing law by revealing the
TX, for Seth A. Becker.                                        existence of a sharing agreement. The specifics of the
                                                               agreement need not be revealed at this time, not even to
Cliffe E. Laborde, III, James D. Hollier, Laborde &
                                                               the Court. Tidewater presented its arguments and parti-
Neuner, Edwin G. Preis, Jr., Jennifer E. Michel, Joseph
                                                               cipated in the trial of this matter without knowledge of
Edward Lee, III, Preis & Roy, Tammy Scelfo, Allen &
                                                               the information contained in the Settlement Agreement.
Gooch, Lafayette, LA, Delos Edward Flint, Jr., Robert
                                                               To reveal said information following the trial would not
R. Johnston, Lawrence Raymond DeMarcay, III, Fowler
                                                               change the record or the arguments made. The Court
Rodriguez & Chalos, New Orleans, LA, Christine Z.
                                                               finds there is no prejudice to Tidewater by denying the
Carbo, Strasburger & Price, Houston, TX, for Tidewa-
                                                               admissibility of the Settlement Agreement at issue in
ter, Inc., et al.
                                                               this matter.

             REASONS FOR JUDGMENT                                   2. Motion to Exclude Evidence of Baker's Employ-
RICHARD T. HAIK, SR., Chief United States District             er Fault and/or For Judgment as a Matter of Law that
Judge.                                                         Baker is Free from Fault in its Capacity as Time Char-
    *1 On June 8, 1999, Seth A. Becker was working             terer of the M/V Republic Tide (Doc. # 662) is
for Baker Hughes, Inc ., assisting in a gravel pack oper-      DENIED. The Court will consider all relevant evidence
ation aboard the jack-up R & B Falcon/Cliffs Rig 153,          and apportion fault accordingly.
when he was horrifically injured. The plaintiff filed suit
                                                                    3. Baker Hughes' Objection to Tidewater's Intro-
against several defendants under the General Maritime
                                                               duction of Certain Expert Reports (Doc. # 682) is
Law and Jones Act and, alternatively, under the Long-
                                                               GRANTED. The Court finds the expert reports in ques-
shore and Harbor Worker's Compensation Act. A Jury
                                                               tion contain information that go beyond the scope of
Trial was held in July 2001, concluding in a verdict
                                                               this Court's rulings regarding new information and bey-
finding plaintiff to be a Jones Act seaman and awarding
                                                               ond the scope of the original reports of Dr. Kenneth
him damages. The jury apportioned fault among the de-
                                                               Boudreaux and Dr. Robert Meier. Thus, the evidence
fendants assigning each a percentage. On appeal, the
                                                               will not be considered.
United States Court of Appeals for the Fifth Circuit re-
versed the jury's finding and held the plaintiff to be a           4. Baker's Deposition Designations are ADMIT-
longshoreman, set aside liability and damage findings,




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TED and will be considered out of an abundance of cau-         ness. The Coflex hose was used to pump materials from
tion in light of the Fifth Circuit's ruling, to the extent     the vessel directly into the wellhead. (Trans.Vol.II, Pp.
they are relevant to the issue of gross negligence.            176-177, Trans.Vol.III, P. 411). The vessel was also
                                                               outfitted with an iron sleeve, fabricated by Baker, re-
    It is noted that, for the remainder of this Ruling,        ferred to as the “blue shoe”. The steel Coflex hose at is-
Baker Hughes, Inc. And Baker Oil Tools, a division of          sue was run from the M/V Republic Tide, over the rig's
Baker Hughes Oilfield Operations, Inc. will be referred        handrail through the blue shoe, to the drill floor. The
to as “Baker” and Tidewater Inc., Tidewater Marine,            hose was then chained to various objects by which it
LLC, Twenty Grand Offshore, Inc., Pental Insurance             passed. The positioning, securing, and use of the Coflex
Company and Cerain Underwriters at Lloyds, Subscrib-           hose was solely within the discretion and control of
ing Risk No. LE0106200 will be referred to as                  Baker.
“Tidewater”.
                                                                    In order to obtain the Cofex hose system, Baker
                  FINDINGS OF FACT                             contracted with Coflexip Stena Offshore for the hose
     *2 The general facts of this case were determined at      and power unit. Coflexip subcontracted with Hydra Rig,
the original trial of this matter and summarized by the        which provided the reel, and obtained a power pack
appellate court. Consequently, this Court will not revisit     from Hydradyne. (Trans.Vol.III, Pp. 539-540). This
each and every detail previously established, but will,        project was overseen on behalf of Baker by Charles
instead, discuss only those pertinent matters.                 Knighton, a non-engineer who lacked experience on
                                                               offshore pumping vessels. (Trans.Vol.III, Pp. 485-486).
     In June 1999, Seth Becker, a 22 year old student at
                                                               This was Knighton's first experience with a Coflex reel
Montana Tech University, was working as a full time
                                                               system. (Trans.Vol.III, P. 493). An important feature of
intern for Baker Hughes. On June 7, 1999, Seth boarded
                                                               the Coflex hose system was a quick release valve,
the M/V Republic Tide as a member of a six man crew
                                                               which released the brake and opened the jaws in order
to assist in a gravel pack operation aboard the jack up
                                                               to release the hose. The system would not work prop-
rig R & B Falcon/Cliffs Rig 153. Upon boarding the
                                                               erly unless the hose was completely unwrapped from
vessel, Seth was given a short orientation, lasting ap-
                                                               the reel. If there were wraps remaining on the spool, the
proximately 10 or 15 minutes. (Trans.Vol.II, P.
                                                               boat would have to pull away to unwrap the hose from
113-114). During the orientation, neither Seth nor the
                                                               the reel and release it. (Trans.Vol.VIII, P. 1618).
other members of the Baker team were instructed on op-
                                                               Neither this information, nor the fact that the quick re-
erating, maintaining, or safely handling an emergency
                                                               lease took approximately 15 seconds to work, was con-
situation with the Baker equipment, in violation of
                                                               veyed by Baker to the crew on the M/V Republic Tide.
Baker's safety program. (Trans.Vol.III, P. 460). The
                                                               (Trans.Vol.III, Pp. 525-527). The crew lacked proper
MTV Republic Tide was owned and operated by Tide-
                                                               training and instruction as to how to work the Coflex
water and was working for Baker pursuant to a Blanket
                                                               hose and reel system and were lacking pertinent inform-
Time Charter Agreement. The Blanket Time Charter
                                                               ation about the system. (Trans. Vol. II, Pp. 174-176;
Agreement was signed on January 23, 1998 and was in
                                                               Trans. Vol. III, P. 350, 353, 422-423, 430, Trans. Vol.
effect at the time of the accident. The jack up rig vessel
                                                               VIII, Pp. 1442-1443, 1449).
was owned by Cliff's Drilling Company and operated by
R & B Falcon USA, Inc.                                              *3 Additionally, Baker made its own modifications
                                                               to the Coflex reel assembly, including the addition of a
    The M/V Republic Tide was outfitted with various
                                                               back up power system using Baker owned auxiliary skid
pieces of Baker equipment required to perform the work
                                                               and hard piping which ran from the hydraulic unit to the
at hand, including a Coflex hose reel. The Coflex hose/
                                                               Coflexip unit. (Trans.Vol.III, Pp. 419-422, 516-517,
Coflex hose reel was a piece of equipment owned and
                                                               531, 537). The changes in the system involved Baker
operated by Baker and used in the course of its busi-




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drilling through the rear of the console, causing the            defend, indemnify, and hold harmless the OWNER
once closed system to be open to contamination.                  INDEMNITEES from and against all claims, suits,
(Trans.Vol.III, P. 420). Following these modifications,          losses, liabilities, expenses, demands, costs (including
which actually caused a change in the structure of the           reasonable attorneys' fees) and/or damages as a result
unit itself, Baker failed to test the system and failed to       of such illness, injury, or death. (Charter, Section
flush the system. (Trans.Vol.III, Pp. 421, 522, 546). In         XIV).
addition to the modifications to the system itself, Baker
also installed the aforementioned “blue shoe”, which                Turning to the date of the accident, the M/V Repub-
was attached to a handrail with chains. The blue shoe          lic Tide left the Port of Fourchon heading for the R & B
was fabricated by Baker employees without the assist-          Falcon jack-up drilling rig/Cliffs 153 located in East
ance or advice of an engineer. (Trans.Vol.III, P. 375). It     Cameron Block 38 in the Gulf of Mexico. At some
was used in conjunction with the Coflex hose system as         point during the journey, communication between the
a part of Baker's operations. In addition to not testing       M/V Republic Tide and the rig was had. Although there
the modified Coflex system as a whole, Baker also              is widely differing testimony as to the issue, Daniel Ray
failed to test the blue shoe and what it could safely          Sibley, an independent party and contractor for Ambar,
handle. (Trans.Vol.V, Pp. 910-911).                            testified that he was present when a person of authority
                                                               on the M/V Republic Tide stated over the radio to
    Under the Time Charter, Baker was responsible for          Mickey Hoffpauir, the company man, that the vessel
maintaining and operating the well stimulation equip-          had had a bow thruster problem, but that the problem
ment it installed on the M/V Republic Tide.                    had been fixed. (Depo., Pg.15) Mr. Sibley also testified
(Trans.Vol.III, Pp. 349-350, 456, 462). Tidewater was          that, during the exchange, it was agreed that the vessel
in charge of the operation and navigation of the vessel,       could drop its anchor and back up to the rig. Given that
including maintenance. The Charter specifically states:        Mr. Sibley is an independent party with no interest in
                                                               the outcome of this case, the Court finds this testimony
  The vessel shall be delivered to CHARTERER at the            to be credible. However, on this subject, the Court also
  port previously agreed upon with clear decks and be-         notes that Tidewater employees Clarence Polk, Daniel
  ing on her delivery properly equipped and in every re-       Givens, and Steven Lachney, as well as Baker Employ-
  spect seaworthy and in good running order and in             ees Kenneth Credeur, Brandon Latiolais, and David Or-
  every way fit and ready for CHARTERER'S use and              sak, all testified that the vessel had not experienced any
  for the employment intended, so far as the exercise of       prior bow thruster problems before the accident. (Trans.
  due diligence can make her; and OWNER undertakes             Vol. VIII, P. 1473; Vol. II, Pp. 161-162, 219-220, 294,
  to so maintain the vessel during the period of service       and Vol. III Pp. 340, 390). The boat had been commis-
  under this Charter. (Charter, Section III).                  sioned approximately 15 or 16 months before the acci-
                                                               dent. (Trans.Vol.III, P. 374). Additionally, the bow
    The Charter also contained an indemnity provision
                                                               thruster had been replaced on the M/V Republic Tide
requiring Baker to indemnify Tidewater for:
                                                               only six months before this occurrence, in January
  injury to, illness or death of the personnel or employ-      1999. (Trans.Vol.II, P. 161).
  ees of CHARTERER, of CHARTERER'S invitees, or
                                                                    *4 Upon arrival at the rig, the M/V Republic Tide
  CHARTEREs sublessee(s) of the vessel, or of CHAR-
                                                               attempted to drop its anchor only to find, after it had
  TERER'S contractors or subcontractors (other than
                                                               dropped approximately 10 feet, that the anchor windlass
  any of the OWNER INDEMNITEES), however said
                                                               had a hydraulic oil leak. The leak was discovered by
  injury, illness or death arises or occurs, whether
                                                               Tidewater's Chief Engineer Clarence Polk and reported
  through the negligence in whole or in part of any of
                                                               to Captain Givens. (Trans.Vol.II, P. 98). Upon learning
  the OWNER INDEMNITEES, unseaworthiness of
                                                               this information, Captain Givens told Mr. Polk to pull
  any vessel or otherwise; and CHARTER shall protect,




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the anchor back up (Trans.Vol.II, P. 99). Captain              States Coast Guard's Streamlined Inspection Program,
Givens did so in order to avoid the possibility of not be-     Tidewater's engineer did, in fact, inspect the anchor in
ing able to retrieve the anchor if a seal became loose         the interim period. (Trans.Vol.II, Pp. 246-251). The
from the leak and also out of concern for pollution laws       Court finds that, although the inspection was not done
which he may have violated by allowing hydraulic fluid         at the proper time, it was actually completed.
to leak into the Gulf of Mexico. (Trans.Vol.II, P. 100).
They instead tied the vessel off with ropes. Captain                *5 After securing the boat, the Baker crew began
Givens chose the method of tying the boat in order to          rigging up for the gravel pack job. At some point
give the vessel more pivotability. (Trans.Vol.II, P. 165).     shortly thereafter, the M/V Republic Tide encountered a
Although Captain Givens did not remember if he noti-           problem when it lost its bow thruster. When the bow
fied anyone of the anchor problem, Baker supervisor            thruster problem arose, Captain Lachney sent the ves-
Kenneth Credeur was, prior to the accident, aware of           sel's engineer Clarence Polk to investigate the problem
the fact that the M/V Republic Tide was operating              and he called the rig, and spoke to the crane operator, to
without an anchor and was not concerned because “we            inform them of the bow thruster failure. (Trans.Vol.II,
used the bow thruster all the time”. (Trans.Vol.III, P.        P. 259). The urgency of the situation was compounded
405). Baker employee Brandon Latiolais was also aware          by the strong current present in the Gulf of Mexico that
of the situation when he boarded the rig to start the job.     day. Moments later, as the boat was drifting toward the
(Trans.Vol.III, P. 344). It was not abnormal to work           starboard stern leg of the vessel, the port line holding
without the anchor because the water is often too deep         the vessel broke. Sometime thereafter, Captain Lachney
or contained too many pipelines. (Trans.Vol.II, P. 102).       powered up the vessel's port throttle in forward and
Although Mr. Credeur, Baker's supervisor, met with all         starboard throttle in reverse in order to avoid making
supervisory personnel aboard the rig, he did not inform        contact with the other leg on the rig and to break the
them of the vessel's anchor failure. (Trans.Vol.II, P.         starboard line holding the vessel. He did not inform any
376-377). Knowing that the vessel was not anchored,            person on the rig of his actions before doing so.
and knowing that its customers and other rig personnel         (Trans.Vol.II, Pp. 261-265). Also, sometime during this
were not fully apprised of the situation, Baker made the       time period but before he broke the second line, Captain
decision to proceed with the job. Baker could have re-         Lachney told the Baker employees on the rig that he
fused to proceed with the job under the circumstances,         was experiencing a bow thruster problem and that
but did not do so. (Trans.Vol.II, P. 159). There is no         someone needed to disconnect the Coflex hose from the
evidence to show that Tidewater objected to proceeding         boat. Baker employees Brandon Latiolais and Jason
with the job either.                                           Foreman responded to the situation by attempting to
                                                               disconnect the hose. (Trans. Vol. VIII, P. 1422; Trans.
     Prior to the anchor problem experienced at the job        Vol. III, P. 333; Trans. Vol. II, P. 271). A point later
site described above, Clarence Polk, Tidewater's Chief         arose where the boat was no longer secured to the rig
Engineer, testified that there had been no problems with       with ropes, but was attached only by the Coflex hose.
the anchor before that and that he had personally in-
spected and provided routine maintenance to the anchor              Upon arriving at the Coflex hose reel, several dis-
on May 22 and May 25, 1999. During this time, he ad-           coveries were made. Namely, the hose was not com-
ded approximately 10 gallons of hydraulic fluid to the         pletely unspooled from the reel; the quick disconnect
system. (Trans.Vol.VIII, Pp. 1475-1477). He supported          button was not releasing the hose; and the Baker em-
this testimony with his written logs. The Court finds his      ployees were unable to manually move the reel. The
testimony to be credible. Although it is a fact that Tide-     jaws holding the hose were opening, but the hose was
water did not have evidence of an anchor inspection on         not free wheeling and releasing. At some point, they
the two quarterly inspection reports prior to the acci-        then recruited the assistance of Clarence Polk, who had
dent, as is required normal procedure under the United         more mechanical knowledge, to help resolve the prob-




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lem. Through trial and error, Clarence Polk eventually         the boat moved, the hose was pulled taut and dragged
fixed the problem by bleeding air off of the system and        across the deck into the plaintiff, Seth Becker, who was
they were able to reel in the hose. The hose was, at that      caught between the hose and the backstop aboard the
time, disconnected on the rig end, but still attached at       rig. The accident caused the plaintiff horrific injuries,
the reel end on the vessel. (Trans. Vol. III, Pp. 352-357;     resulting in the total amputation of both of his leg below
Trans. Vol. VIII, Pp. 1423-1428; Trans. Vol. II, P. 273).      the knee. The accident further resulted in mental and
                                                               emotional injuries to this young plaintiff, resulting from
     At some point during the time while those individu-       both the experience itself as well as massive blood loss.
als aboard the vessel were attempting to operate the
quick release and drop the hose from that end, Mr. Cre-             After the accident, Baker project specialist Gerald
deur, who was on the rig and had been advised of the           Blanchard inspected the Coflex reel system to determ-
bow thruster malfunction by the crane operator John            ine the problem. He found that the auxiliary unit worked
Corkem (through Falcon OIM Don Frederick, who                  properly, but when the main console was used, air was
answered the call), ordered Troy Broussard, David Or-          introduced into the system causing it to lock up.
sak, and Seth Becker, an inexperienced summer intern,          (Trans.Vol.VIII, P. 1495). Upon further inspection, he
to disconnect the Colfex hose at the hammer union on           found that a clamp on a line hose was loose, which al-
the rig. This instruction came after a second call to the      lowed air into the hydraulic system. Once the clamp
rig by Captain Lachney informing them that the hose            was tightened, the system worked properly.
was going to have to be disconnected from the rig be-          (Trans.Vol.VIII, Pp. 1496-1498). Baker personnel were
cause the boat was unable to do so. (Trans.Vol.II, P.          the last people to work inside of the console housing the
265). Knowing that the situation was an emergency and          loose clamp. Baker personnel were also periodically in
knowing that, if the boat moved, it would pull the             this console to change the filter in the system.
massive Coflex hose, Mr. Credeur, Baker's supervisor,          (Trans.Vol.VIII, P. 1501). It would have been simple
sent the men into that situation without checking the          for Baker personnel to check the connections while
status of the vessel or the level of danger into which he      changing the filter.
was sending them. (Trans.Vol.III, Pp. 386, 401). Donald
Frederick, Falcon's employee, also failed to keep track            The Court finds it is a fact that the negligence of
of the vessel and hose locations. (Trans.Vol.IV, P. 633).      both Tidewater and Baker caused the plaintiff's injuries.
Donald Frederick, Falcon's OIM, John Corkern, the              And that, although other parties aboard the vessel
crane operator and Kenneth Credeur, Baker's super-             should have warned of the danger of the situation or
visor, all knew the situation was an emergency.                taken more proactive measures, that fault was not the
(Trans.Vol.IV, Pp. 646, 657, 664). No one warned Seth          cause of the damage in this case.
Becker, the summer intern, of the possibility of harm he
                                                                               CONCLUSIONS OF LAW
was facing in that situation where he was not needed
                                                                    In accordance with the Fifth Circuit's Ruling in
and should not have been placed. (Trans.Vol.III, P.
                                                               Becker v. Tidewater, Inc., 335 F.3d 376, 5th Cir.2003, it
397).
                                                               has been established that the plaintiff is a maritime
     *6 Several minutes after the bow thruster failed and      worker covered under the Longshore and Harbor Work-
the vessel notified John Corkern of the situation, and         er's Compensation Act (LHWCA) and that the LHWCA
while the three Baker employees were attempting to dis-        governs any recovery at trial. Section 905(a) of the LH-
connect the hose on the rig, directly in harm's way, Cap-      WCA precludes an employee from suing his employer
tain Lachney powered up the boat and broke the star-           in tort. Consequently, Baker can not be held liable to
board line. He did so without warning to the rig and           Seth Becker in its capacity as his employer. It can,
with full knowledge that the boat would move and pull          however, be held liable under section 905(b) if at fault
the Coflex hose with it. (Trans.Vol.II, P. 311). When          in its capacity as the time charterer of the M/V Republic
                                                               Tide. Kerr McGee v. Corp. v. Ma-Ju Marine Services,




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Inc., 830 F.2d 1332 (5th Cir.1987). Section 905(b) of          ies to longshoreman in areas that remain within the act-
the LHWCA provides the exclusive remedy for long-              ive control of the ship owner.
shoreman against a vessel. The Kerr McGee court stated
that a time charter can be liable under section 905(b) if           3. The “duty to intervene” which requires the
the harm caused is “within the charterer's traditional         shipowner to warn or intervene when he becomes aware
sphere of control and responsibility or has been trans-        that the ship or its gear pose a danger to the longshore-
ferred thereto by the clear language of the charter agree-     men or that the stevedore is acting unreasonably in fail-
ment.”                                                         ing to protect the longshoreman against danger.

     *7 Under a traditional time charter agreement, the             In Moore, the Fifth Circuit Court of Appeals stated
time charterer directs the vessel's commercial activities.     the “traditional allocation of duties between the employ-
Moore v. Phillips Petroleum Co., 912 F.2d 789 (5th             er, time charterer, and vessel owner places liability for
Cir.1990). In this case, the Charter Agreement also shif-      harm on the party that is most directly responsible for
ted other responsibilities to Baker. According to the          the dangerous condition that caused the harm.” In the
testimony of Baker's employees at trial, as well as the        instant case, one thing is strikingly clear-no one party
language of the Charter, which included allowing Baker         was solely responsible for the dangerous conditions that
to install equipment and maintain ownership, Baker was         resulted in the grave harm that befell Seth Becker. With
responsible for and retained control over the equipment        that, the Court will allocate fault between the parties for
it installed on the vessel. The equipment was installed        their roles in the various dangerous conditions that,
to assist Baker's performance of specialized services on       when brought together, caused the resulting harm to the
oil and gas wells. As such, the Coflex hose, Coflex hose       plaintiff. The Court recognizes, as set forth by the Su-
reel assembly, blue shoe and pumping operations asso-          preme Court in Kerr-McGee, that Baker's two duties,
ciated with this equipment were within Baker's exclus-         one as employer and the other as time charter, are separ-
ive control under the Charter. Tidewater was in control        ately owed and do not affect each other.
of the operation, navigation, and maintenance of the
                                                                    Both Tidewater, who retained control over the op-
vessel.
                                                               eration and navigation of the vessel, and Baker, who
     Under Section 905(b) of the LHWCA, the liability          controlled the commercial activities of the vessel, de-
of the vessel is for negligence and is not based on the        cided to proceed with the job fully armed with the
warranty of seaworthiness. In Scindia Steam Navigation         knowledge that the anchor on the M/V Republic Tide
Co. v. De Los Santos, 451 U.S. 156, 101 S.Ct. 1614, 68         had not been deployed. Either party could have preven-
L.Ed.2d 1 (1981), the United States Supreme Court out-         ted the commencement of the job at that point. Al-
lined three main duties owed by the vessel for which           though this may not have been completely out of the or-
905(b) liability may be imposed:                               dinary because the bow thruster was often used to hold
                                                               the boat in these operations, it was, on this day with
     1. The “turnover duty” which requires the shipown-        rather strong currents, a negligent decision by both
er to exercise ordinary care to insure the ship and its        parties. Additionally, neither party notified ERT and/or
equipment are turned over to an outside contractor in          Falcon, of the anchor situation. Baker is held to be re-
such condition that an experienced stevedore will be           sponsible for this negligence, in its capacity as time
able to, with the exercise of ordinary care, carry on its      charter for directing the commercial activities of the
cargo operations. A vessel must warn a stevedore of            vessel and as the party responsible for well stimulations
dangers that are known to it, or should be known               under the Charter, because it was informed of the situ-
through the exercise of reasonable care.                       ation by Tidewater, but failed to pass the information
                                                               along to its customers and crew. Both Kenneth Credeur
    2. The “active control duty” which requires a              and Brandon Latiolais, Baker employees, testified to the
shipowner to exercise reasonable care to prevent injur-        fact that they were aware of the vessel's failure to an-




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chor, but did not inform any other parties even though        spect to its workers who were operating the Coflex hose
they met with their customers prior to starting the job.      system. The Coflex system and the area surrounding it
                                                              were in the active control of Baker. The failure to main-
     *8 With respect to the Coflex reel system, the Court     tain the system and provide proper training on its use
finds Baker to be negligent under 33 U.S.C.A. section         demonstrates a lack of reasonable care to prevent injur-
905(b) as the time charter responsible for the installa-      ies to the plaintiff. Finally, although Baker was fully
tion and maintenance of its equipment installed aboard        aware that the situation was an emergency and posed a
the M/V Republic Tide. Baker negligently modified the         danger to people aboard the rig, it failed to warn Seth
Coflex hose system and, subsequently, failed to test,         Becker of the gravity of the situation. This lack of ac-
clean or properly maintain the equipment. Additionally,       tion is a violation of Baker's duty to intervene.
Baker failed to properly train and instruct its crew on
the operation of the system it installed. This led to a            In addition to the installation of the Coflex hose
failure to completely unwrap the hose from the reel, so       system, Baker also designed, built, and installed the
that the quick disconnect feature could properly func-        blue shoe on the M/V Republic Tide. The blue shoe,
tion. The failure to maintain the system properly led to      created without the assistance of an engineer, was de-
the introduction of air into the system which caused a        signed to guide the Coflex hose over the handrails and
lock up that prevented the crew from manually reeling,        hold it in place. It was chained to the handrail with
or unreeling, the system. These negligent actions caused      small chains. Like the Coflex hose system, Baker failed
the hose to remain attached to a vessel that was unable       to test the blue shoe's capabilities and functionality pri-
to maintain its position, causing unthinkable danger to       or to the accident. The Court again agrees with the
the crew and, ultimately, incredible damage to the            plaintiff's expert, Mr. Killingsworth, that the blue shoe
plaintiff.                                                    was “an accident waiting to happen” and was both un-
                                                              reasonably dangerous and defective at the time of the
     Baker is not responsible for these actions as an em-     accident. (Trans.Vol.V.927).
ployer, it is responsible as the time charterer who in-
stalled, and maintained ownership and control of, the              *9 Like the Coflex hose, the blue shoe was an ap-
equipment on the vessel. The Court agrees with Steve          purtenance installed on the vessel by Baker as the time
Killingsworth, plaintiff's expert, who testified that the     charterer. It remained in Baker's ownership and control
way Baker chose to deploy the reel rendered the system        at all times. The dangerous and defective object created
“unreasonably dangerous” and “defective” and that, if         a hazard to the crew and violated Baker's turnover duty.
any of this very sophisticated company's engineers had        The crew could not, with reasonable care, conduct oper-
done a functionality test, it would have observed that        ations safely with such an object. Additionally, had
the quick disconnect could not work if the hose was not       Baker performed any testing, it could have, with reason-
completely unreeled. (Trans.Vol.V, P. 927, 928).              able care, discovered that the blue shoe was a useless
Baker's actions and inactions violated its turnover duty      and dangerous object which created a false sense of se-
to maintain its Coflex reel system in such condition that     curity for those working with it. This failure was a viol-
a reasonable stevedore could, through the exercise of         ation of its duty to warn. Baker's negligent fabrication
reasonable care, carry on its operations. Additionally,       and installation of the blue shoe, and its failure to test
Baker failed to warn as it could have, through the exer-      the object which it maintained control over, also amount
cise of reasonable care, discovered that the hose must        to a violation of its active control duty because it did
be completely unspooled in order for the quick discon-        not exercise reasonable care with respect to the safety of
nect emergency system to work and that there was a            Seth Becker. Finally, these actions and inactions, as
loose clamp in the console which caused excess air to         owner and controller of the equipment, constitute a viol-
enter the system. Further, Baker violated its active con-     ation of Baker's duty to intervene to protect the
trol duty by failing to exercise reasonable care with re-     plaintiff.




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     The Court holds that the failures of the Coflex hose       Coflex hose to move. That movement of the Coflex
system and blue shoe, which were solely caused by and           hose resulted in the drastic injuries sustained by the
in control of Baker, are negligence within Baker's realm        plaintiff. This negligence was a legal cause of the
as time charterer and a legal cause of the plaintiff's in-      plaintiffs injuries.
juries. Although Baker is also negligent for sending
Seth Becker down to unhook the Coflex hose on the rig,               *10 Based on the evidence presented, the Court
that action was taken as its employer. That is the only         finds that an inspection of the anchor should have been
action taken by Baker as an employer. All other actions         completed at the proper quarterly intervals. The failure
were taken by Baker as the time charterer, owner and            to do so does amount to a lack of reasonable care and,
control of its equipment. Had Baker warned Seth of the          consequently, negligence as a violation of its active
dangers presented by its Coflex hose and blue shoe sys-         control duty. Tidewater retained control over its own
tem; installed, tested and maintained its equipment with        anchor system, but failure to perform timely inspections
any reasonable care so that it could be operated safely;        resulted in a threat to the safety of the plaintiff. Al-
maintained and operated its equipment, which it act-            though the anchor was inspected and maintained in the
ively controlled, in a manner which provided safety to          interim, this does not relieve Tidewater of its negligence
the plaintiff; trained its employees on the proper use of       in failing to follow its own procedures. It does,
the equipment, which is essential to its safe operation         however, lessen the degree of negligence because the
for all parties in its presence; and/or intervened when it      evidence shows that there was no report or evidence of
was aware of the emergency situation, the plaintiff             an anchor problem before the accident. Consequently, it
would not have been injured.                                    has not been proven that the vessel was unseaworthy
                                                                because of an anchor condition upon delivery. Further,
     Baker, however, was not alone in its negligence.           as stated, an inspection and maintenance did, in fact,
Tidewater also played a star role in this tragic accident       take place shortly before the accident. Additionally, al-
that so drastically altered a young man's life. Tidewater,      though the vessel would normally anchor in shallow
at all times, maintained active and complete control            water which is free from obstructions, it is not abnormal
over the vessel's operation and maintenance. As previ-          to proceed on this type of job without an anchor. Had
ously stated, Tidewater shares the responsibility for the       the site been in deep water or contained more obstruc-
negligent decision to proceed with the job without an           tions, the job would have proceeded just as it did. Addi-
anchor in rough waters. That shared decision is a legal         tionally, the testimony of both Baker and Tidewater per-
cause of the plaintiff's injuries. In addition to that, Cap-    sonnel shows that the lack of an anchor was of no mo-
tain Lachney's decision to break starboard line, the only       ment in deciding to proceed with the job at hand.
line holding the vessel at all steady, without warning the
rig or any other party of his actions was negligence.                Based on the foregoing, the anchor malfunction and
Even though the Court understands that Captain Lach-            negligent failure to perform the quarterly inspection
ney took that action in an effort to avoid alliding with        does not rise to the level of acts so consequential that
the rig and putting those individuals aboard both the           they render the Charter null and void. There is no proof
vessel and the rig in danger, doing so without warning          that the vessel was delivered to the charterer in an un-
was negligent. This action violated Tidewater's active          seaworthy condition due to the anchor or that Tidewater
control duty, as it failed to exercise reasonable care with     had knowledge of the anchor problem before the acci-
respect to the safety of the men working on the vessel          dent. Routine maintenance by Tidewater's engineer in
and rig, and its duty to intervene, as it failed to protect     May 1999, only two weeks before the accident, revealed
the workers after becoming aware of a dangerous situ-           no problems with the anchor. And, because it was not
ation. Further, Tidewater failed to warn the plaintiff and      abnormal to proceed without an anchor and the decision
other men aboard the rig and vessel that it was about to        to do so here was, in fact, made jointly by Baker and
take a drastic action which it knew would cause the             Tidewater, the anchor malfunction and failure to per-




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form a quarterly inspection are of no consequence with         ately notified the rig and, once it was determined that
respect to Baker's indemnity obligation and the Blanket        the hose could not be released from the vessel end and
Time Charter.                                                  he was having trouble maintaining his position, he again
                                                               made the rig aware of this information. His notifying
     With respect to Tidewater's bow thruster, the Court       the rig that the hose would have to be released from the
finds there is not enough evidence to prove a problem          rig end, not the vessel end, was a responsible act. His
existed immediately prior to the accident which could          notifying the rig that he had lost his bowthruster was, in
render Tidewater liable for such knowledge. The Court          fact, a fulfillment of Tidewater's obligation to warn and
notes there was testimony from both R & B Falcon and           protect the safety of individuals aboard the rig. He did,
ERT that the boat was delayed due to a bow thruster            in fact, give the rig the pertinent information it needed.
problem and a denial of this allegation by Tidewater.          Unfortunately, shortly thereafter, his actions became
The conflicting testimony does not weigh as heavily as         negligent when he moved the boat without checking the
the testimony of Daniel Sibley, a truly independent            situation on the rig and/or giving warning.
party. Although the Court believes Mr. Sibley's testi-
mony concerning the communication which took place                  *11 The bow thruster failure did amount to unsea-
between the rig and the vessel while it was in route, it       worthiness of the vessel during the operations, but not
notes that Mr. Givens only thought the boat was running        necessarily upon delivery, but this is of no moment with
late on its way to the rig because of a bow thruster prob-     respect to the plaintiff as an action under section 905(b)
lem, he never actually heard this particular fact commu-       of the LHWCA is for negligence, not unseaworthiness.
nicated over the radio. In fact, that issue was never es-      The Court further finds that the failure of the bow
tablished. Additionally, Tidewater employees Clarence          thruster does not rise to the level of a breach of contract
Polk, Daniel Givens, and Steven Lachney, as well as            that would render the indemnity provisions of the con-
Baker Employees Kenneth Credeur, Brandon Latiolais,            tract null and void. Even if the vessel became unsea-
and David Orsak, all testified that the vessel had not ex-     worthy during the operations or was unseaworthy at any
perienced any prior bow thruster problems before the           point in this scenario, Baker agreed to indemnify Tide-
accident. Given all of this information as a whole, the        water for damages that resulted therefrom.
Court finds that a bow thruster problem was, in fact,
discussed during the M/V Republic Tide's trip to the rig,           In Marquette Transportation Company, Inc. v.
but that it is unclear whether the problem mentioned           Louisiana Machinery Company, Inc., 367 F.3d 398 (5th
was recent or something that existed before the bow            Cir.2004), the Court advised than an indemnitee's oblig-
thruster was replaced only six months earlier. There is        ations under a contract are relevant to the determination
overwhelming testimony from both Tidewater and                 of its entitlement to indemnity. Additionally, the Mar-
Baker employees that there had been no bow thruster            quette court emphasized reading the language of the
problems before this accident. Additionally, and import-       Agreement at issue and noted that, in that case, as in our
antly, the Court finds that, based on Mr. Sibley's inde-       case, the indemnification agreement provided for in-
pendent testimony, the M/V Republic Tide had reported          demnification regardless of the negligence of any in-
that any bow thruster problem that had existed was, at         demnitee. The Blanket Time Charter in effect between
that time, resolved. Given the testimony as a whole, the       Baker and Tidewater on the date of the accident spe-
Court can not logically find that Tidewater had immedi-        cifically states that Tidewater would have no liability
ate knowledge of a bow thruster problem, prior to its ar-      for “injury to, illness or death of the personnel or em-
rival at Rig 153, which would have directly impacted           ployees of Charterer ... however said injury, illness or
this accident. The testimony clearly shows that any            death occurs, whether through the negligence in whole
problem that might have existed was believed to be re-         or in part of any of the Owner Indemnitees, unseawor-
solved and the boat was in working order. Additionally,        thiness of any vessel, or otherwise.” Despite any negli-
once the bow thruster failed, Captain Lachney immedi-          gence or unseaworthiness attributable to Tidewater, the




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indemnity agreement if fully enforceable.                      Charter Agreement. Under Louisiana law, gross negli-
                                                               gence is willful, wanton, and reckless conduct that falls
     Additional issues raised are Tidewater negligence         between intent to do wrong and ordinary negligence.
in that Captain Givens led personnel aboard the rig to         The Houston Exploration Company v. Halliburton En-
believe the M/V Republic Tide would be anchored, ren-          ergy Services, Inc., 269 F.3d 528 (5th Cir.2001). Tide-
dering the issue of vessel movement moot, but then             water's negligent actions in failing to inspect the anchor
failed to do so. Instead, he relied solely on the bow          during its quarterly inspections, proceeding with the
thruster, which eventually malfunctioned. This argu-           gravel packing job in rough seas without a functioning
ment would carry more weight had the Baker personnel           anchor, and moving the boat without warning fall with-
not been aware of the fact that the vessel was not             in the realm of ordinary negligence. The most egregious
anchored. Once Tidewater informed them of the situ-            conduct, that of moving the boat without warning, was
ation, it fulfilled its duty to notify its customer and can    taken in an effort to avoid an allision between the vessel
not be said that its actions were negligent. Also, the is-     and the rig. Although Captain Lachney was aware that
sue of a breach of contract for failure to use due dili-       such action would move the hose on the vessel, there is
gence in providing a seaworthy vessel due to the failure       no evidence to show that his actions rise to the level of
of the Dynamic Positioning System (DPS) was raised,            gross negligence. Allowing the vessel to allide with the
but carries little weight. According to Baker's own testi-     rig and possibly cause catastrophic harm to all involved
mony, it was aware of the inoperable DPS system and            might have. Additionally, for the reasons previously
had never used it since its installation on the vessel. The    stated, the failures of the anchor and bow thruster also
vessel was not being used as a DPS capable vessel.             do not rise to the level of gross negligence. There is
                                                               simply not enough evidence to prove that Tidewater's
     Based on the foregoing, the Court finds there is no
                                                               deficiencies were anything more than ordinary negli-
breach of the contract provisions that would vitiate the
                                                               gence. As stated by the Marquette Court, “Under
contract and relieve Baker of its obligation to indemnify
                                                               Louisiana law, contracts limiting liability are generally
Tidewater. Tidewater had an obligation to provide and
                                                               valid and enforceable.” It is held that the contract provi-
maintain a seaworthy vessel, fit for its intended use,
                                                               sions doing so in this case are just that.
through the exercise of due diligence. Established law
dictates that a maritime contract is interpreted using the                    ALLOCATION OF FAULT
general rules of contract construction and interpretation.          For the foregoing reasons, and after full considera-
That is, the Court must read the contract as a whole.          tion of the record and all evidence presented, the Court
The Court finds, after considering the totality of the         allocates fault between Tidewater and Baker as follows:
evidence, that Tidewater exercised due diligence with
respect to its obligations to Baker and that any failures        BAKER: 55%
to do so did not rise to a level which would relieve
Baker of its contractual obligations. Even if the vessel         TIDEWATER: 45%
was, or became, unseaworthy during the pertinent times
                                                                    As previously discussed, Falcon is found to be free
or Tidewater acted in a negligent manner, the indemni-
                                                               from liability in this matter. Additionally, it is noted
fication provisions of the Blanket Time Charter in effect
                                                               that the Fifth Circuit affirmed the determination of no
at the time of the accident absolve Tidewater from any
                                                               liability as to the component manufacturers. Becker v.
liability for its negligence or unseaworthiness that resul-
                                                               Tidewater, Inc., 335 F.3d 376, (5th Cir.2003)
ted in injury to Seth Becker, Baker's employee.
                                                                                      DAMAGES
     *12 For the same reasons discussed above, the
                                                                   Tidewater, as owner of the M/V Republic Tide, and
Court also finds that Tidewater's actions fall short of
                                                               Baker, as time charterer of the vessel, are both liable to
gross negligence. A finding of gross negligence could
                                                               the plaintiff under section 905(b) of the Longshore and
vitiate the indemnity obligations set forth in the Time




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Harbor Worker's Compensation Act. The damages re-             death. This condition can be maintained, but is incur-
coverable under this section are generally the same as        able. The osteomyelitis caused dire problems for Seth
those under general maritime law. Damages available to        and led to extreme treatments, including the intravenous
the plaintiff include past and future medical costs; past     administration of powerful antibiotics through a cathet-
and future loss of wages/benefits; pain and suffering;        er inserted from his collar bone into the center of his
mental/emotional injuries; and loss of enjoyment of life.     chest. This treatment lasted several months. It is almost
Williams v. Chevron, 875 F.2d 501 (5th Cir.1989).             certain that this condition will recur.

A full, detailed recitation of the massive injuries           Additionally, Seth suffered severe mental and emotional
suffered by Seth Becker is not necessary, as the extent       problems as a result of the accident and the massive
of this young man's damages is uncontested and well           blood loss. He has suffered such atrocities as agonizing
documented throughout the record of this case. The            phantom pain and nightmares involving maggots com-
damages suffered by this young man are horrific and           ing from his chest and other horrors. It has been con-
extreme. Following the butchering of his legs by the          firmed that he suffered cognitive brain damage as a res-
steel Coflex hose, Seth laid on the main deck of the rig,     ult of the blood loss and that the brain damage reflects
in his own blood, for almost two hours before being           significant impairments to the frontal lobe, the most fra-
evacuated. It is important to note that, during this time     gile area of the brain. This brain damage is permanent.
period, he lost approximately 8-9 pints of blood without      Further, Seth suffers from chronic pain disorder, chron-
losing consciousness and remained on the deck with his        ic depression and post traumatic stress disorder. The list
own leg on his chest. His right leg was openly ampu-          is seemingly endless.
tated and his left leg was attached only by tissue
threads.                                                      The totality of the harm suffered by Seth Becker, a
                                                              faultless young man, has impacted his life in ways that
*13 Following his evacuation, he endured nine surgeries       are hard to imagine. His life is forever altered. Every
and a near death episode of tachycardia, which led to         day is now a struggle for him and will remain so until
massive blood transfusions. His in-folded and irregu-         his last day. There is no aspect of his life that remained
larly scarred stumps have, according to uncontroverted        untouched or will remain untouched by the horrendous
medical testimony, caused great concern for future new        events of June 8, 1999.
problems. It is undisputed that the condition of his
stumps will only get worse with time and that future          After a thorough review the evidence of damages sub-
surgeries are a certainty. Any new additional problem         mitted to the Court in the original trial, as well as the
and/or surgical procedure will certainly give rise to a       updated information supplied at the second (limited) tri-
cause for refitting Seth's artificial limbs-a costly and      al of this matter, the Court holds that the Plaintiff has
painful process. Shortly after the accident, Seth also        sustained damages in the following amounts:
contracted osteomyelitis, a threatening disease hidden in
the bones of his stumps. Osteomyelitis can cause severe
infection, permanent bone damage, and can lead to

    Stipulated Past Medical Expenses:                         $661,351.55
    Future Medical Expenses:                                  $15,334,440.00
    Past Lost Wages:                                          $362,435.00
    Impairment of Earning Capacity or ability in the          $3,393,532.00
future, including impairment in the normal progress of
plaintiff's earning capacity due to his physical or mental
condition




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     Past physical pain and suffering, including physical      $4,000,000.00
disability and impairment, past loss of enjoyment of life,
and inconvenience in the normal pursuits and pleasures
of life
     Future physical pain and suffering, including phys-       $5,000,000.00
ical disability and impairment, future loss of enjoyment
of life and effects of the injuries and inconvenience on
the normal pursuits and pleasures of life
    Past mental anguish and suffering including feelings       $3,000,000.00
of economic insecurity
     Future mental anguish and suffering, including feel-      $4,000,000.00
ings of economic insecurity (includes quality of life items
in the amount of $2,034,121.00)

      *14 As noted by the Fifth Circuit Court of Appeals
in Marathon Pipe Line Co. v. M/V Sea Level II, 806
F.2d 585 (5th Cir.1986), an award of prejudgment in-
terest is committed to the sound discretion of the district
court. It is held that Seth Becker is entitled to an award
of prejudgment interest on his past damages from the
date of the accident, June 8, 1999 until entry of this
judgment, at a stipulated rate of 6.052% per annum. The
plaintiff is also entitled to an award of post-judgment
interest on the entire judgment until payment is made in
full.

W.D.La.,2007.
Becker v. Tidewater, Inc.
Not Reported in F.Supp.2d, 2007 WL 3231655
(W.D.La.)

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For Opinion See 2007 WL 3231655

                              United States District Court, W.D. Louisiana.
                                           Seth A. BECKER,
                                                     v.
      TIDEWATER, INC., Baker Hughes, Inc., R&B Falcon Drilling USA, Inc., and Cliffs Drilling Company.
                                         Civil Action No. 1198.
                                           September 1, 2005.

Section L-O

   Baker Hughes' Reply Memorandum on Motion for Summary Judgment as to Defense and Indemnity Based on
                              Tidewater's Breach of the Blanket Time Charter

Judge Richard T. Haik, Sr.

Magistrate C. Michael Hill.

MAY IT PLEASE THE COURT:

Tidewater denies neither that it (1) contracted to provide to Baker a seaworthy vessel nor (2) neglected to follow its
own procedure for inspecting the very equipment that failed and rendered the vessel unseaworthy. Tidewater instead
asks the Court to adopt a reading of the Blanket Time Charter which would allow any vessel owner to agree to pro-
vide a seaworthy vessel, knowingly breach that contractual obligation, and still take advantage of the contract's in-
demnity provision.

Baker respectfully submits that the undisputed fact of Tidewater's admitted failure to inspect the anchor windlass
under its Coast Guard Streamlined Inspection Program requires summary judgment dismissing their claims for de-
fense and indemnity. At the very least, the arguments advanced by Tidewater do nothing more than create a fact
issue for trial as to their compliance or not with their contractual undertakings which were conditions precedent to
Baker's alleged defense and indemnity duties to Tidewater.

                                                        I. FACTS

Tidewater cannot and does not contest that it failed to perform the scheduled inspection of the anchor windlass unit
in March 1999. It instead suggests that Engineer Clarence Polk's adding of hydraulic fluid to the windlass in May
1999 is evidence of both a sufficient inspection and the absence of any leak. Both assertions are disingenuous.

First, there is no evidence in the Polk trial testimony cited by Tidewater that he performed the sort of inspection re-
quired by Tidewater's Streamlined Inspection Program. In particular, the ANCH 02 inspection requires that the fol-
lowing steps be followed:
A. Verify that bitts, cleats, and fair leads are not excessively corroded or grooved, and that there is no scale build-up.
B. Verify that bitt and cleat horns are not missing, broken, or excessively bent.
C. Verify that foundations are not fractured.
D. Verify that all guy wires are taunt and free of fraying, and not broken and wire clamps are not wasted.[FN1]




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         FN1. See Tidewater's Streamlined Inspection Program procedure ANCH 02, attached as Exhibit “U”.

There is simply no evidence that this sort of thorough inspection of the anchor equipment was performed either in
March or May of 1999. Though Tidewater makes light of the time that elapsed between the scheduled (but never
performed) March 1999 inspection and the accident, there is an obvious reason behind the Tidewater inspection
schedule - ensuring that maintenance is performed on a preventive, rather than post-catastrophic, basis.

Second, Tidewater neglects to cite Polk's deposition testimony or the portion of his logs which indicates just how
much hydraulic fluid he added to this crucial piece of equipment. Polk testified that he added at least ten gallons of
fluid during his May 1999 “inspection.”[FN2] If anything, the volume of fluid added is evidence that indeed there was
a problem, one that a proper inspection of the equipment might well have uncovered. Yet Polk dismissed the addi-
tion of such a volume of fluid as not suggestive of any problem.[FN3] This is questionable at best.

         FN2. See Deposition of Clarence Polk, excerpts attached as Exhibit “V”, pp. 284-285.

         FN3. See Deposition of Clarence Polk, p. 286.

                                             II. LAW AND ARGUMENT

A. TIDEWATER'S READING OF THE BLANKET TIME CHARTER IS CONTRARY TO THE MOST BASIC PRIN-
                     CIPLES OF MARITIME CONTRACT INTERPRETATION

Tidewater asserts that “[a]ccepting Baker's argument would virtually eviscerate contractual indemnity in maritime
actions[.]”[FN4] The gloss that Tidewater proposes, however, flies in the face of the most basic contractual-
interpretation principles. Simply put, the Tidewater interpretation would completely read out of the contract Tidewa-
ter's duly-bargained-for duty to provide and maintain a seaworthy vessel for Baker's well-stimulation operations.

         FN4. See Tidewater Opposition Memorandum at p. 9.

In Computalog U.S.A. Inc. v. Mallard Bay Drilling, Inc.,[FN5] Judge Porteous concisely reviewed the well-settled and
axiomatic concepts that govern maritime contract interpretation in the Fifth Circuit:

         FN5. 21 F.Supp. 620 (E.D.La. 1998).

A maritime contract must be interpreted according to the general rules of contract, construction and interpretation.
Each provision of a contract must be read in light of others so as to give each the meaning reflected by the contract
as a whole. Finally, each provision of a contract must be given a meaning which renders it, along with all other pro-
visions, effective rather than meaningless.[FN6]

         FN6. 21 F.Supp.2d at 624 (internal citations omitted) (emphasis added).

Tidewater's proposed interpretation of the Blanket Time Charter would render meaningless Tidewater's express as-
sumption in Article III of the obligation to provide and maintain the REPUBLIC TIDE in a seaworthy condition.
The only way to give effect to this provision is to conclude that Tidewater must live up to its basic obligations to
maintain the vessel before it can take advantage of the indemnity language in Article XIV, i.e. render Tidewater's
seaworthiness obligation “effective rather than meaningless.” Otherwise, Tidewater would have absolutely no incen-
tive to live up to its bargained-for obligation to provide and maintain a seaworthy vessel, and instead would remain
comfortable in the knowledge that, regardless of injury or damage caused by its breach of that duty, it could seek




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defense and indemnity from Baker. Such an absurd result cannot have been contemplated and certainly does not
give effect to Tidewater's obligations under the Blanket Time Charter. It would also be against public policy.

 B. THE FIFTH CIRCUIT'S OPINION IN MARQUETTE REQUIRES A FURTHER EXAMINATION OF THE EF-
FECT OF TIDEWATER'S BREACH ON ITS ABILITY TO CALL FOR DEFENSE AND INDEMNITY FROM BAKER

Dismissing important statements in Marquette as mere dicta,

Tidewater urges the Court to end its inquiry with Fontenot.[FN7] First, the Marquette Court's statements are not dicta.
They went directly to the issue of whether the indemnity requirement operated to completely override the defen-
dant's warranty obligations; the Court rightly concluded that it did not.[FN8] This analysis was directly applicable to
the consideration of whether the indemnity provision was an improper exculpatory clause, and thus was not
dicta.[FN9]

         FN7. See Tidewater's Opposition Memorandum at p. 10.

         FN8. See Marquette Transp. Co., Inc. v. Louisiana Machinery Co., Inc. 367 F.3d 398, 408 (5th Cir. 2004).

         FN9. “A statement is not dictum if it is necessary to the result or constitutes an explication of the governing
         rules of law.” International Truck and Engine Corp. v. Bray, 372 F.3d 717, 721 (5th Cir. 2004).

Second, regardless of Tidewater's semantics, the Fifth

Circuit's statements in Marquette are illuminating and require careful consideration of Tidewater's breach of its du-
ties under the Blanket Time Charter. Unlike the obligation in Fontenot, on which Tidewater would have the Court
exclusively rely, Tidewater's obligation to provide and maintain a seaworthy vessel is not merely implied but rather
is expressly set forth in the Blanket Time Charter. The parties, in negotiating, bargaining for, and apportioning the
various liabilities and advantages in the Blanket Time Charter, thought Tidewater's duty to provide and maintain the
REPUBLIC TIDE in a seaworthy condition important enough to formalize that duty in Article III. Tidewater's asser-
tion that the Blanket Time Charter should be read as though Article III - and its own duty thereunder - simply does
not exist, cannot withstand either the basic principles of maritime contract interpretation or the Fifth Circuit's rea-
soning in Marquette.

Furthermore, it cannot be overlooked that the party seeking to enforce the implied warranty of workmanlike per-
formance in Fontenot was doing so for the purpose of establishing an implied right to recover indemnity against the
one allegedly in breach of that warranty.[FN10] In contrast, BAKER is not seeking to create an implied indemnity
agreement in its own favor by virtue of TIDEWATER's breach, but rather is simply seeking to enforce the general
proposition that a party who is in breach of a contract cannot demand performance from others.[FN11] In addition,
where, as here, the breach materially increased the scope of risk of injury and the severity of that injury and thereby
the potential liability of BAKER under the indemnity provision, TIDEWATER's breach was material, thereby dis-
charging BAKER from any liability under the indemnity contract.[FN12]

         FN10. Fontenot v. Mesa Petroleum Co., 791 F.2d 1207, 1218 (5th Cir. 1986).

         FN11. Hattiesburg Lumber Co. v. Herrich, 121 F. 834, 967 (5th Cir. 1914).

         FN12. Hiern v. St. Paul-Mercury Indemnity Co., 262 F.2d 526, 528 (5th Cir. 1959); General Ins. Co. of
         America v. Fleeger, 389 F.2d 159, 161 n.3 (5 th Cir. 1968); Denton v. Fireman's Fund Indemnity Co., 352
         F.2d 95, 96, 99 (10th Cir. 1965); American Cas. Co. of Redding, Pennsylvania v. Idaho First Nat'l Bank,




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        328 F.2d 138, 142-143 (9th Cir. 1954); Dana Corp. v. Fireman's Fund Ins. Co., 169 F.Supp.2d 732, 743
        (N.D. Ohio 1999); Hudson v. Forest Oil Corp., 2003 WL 21276385 at *4 (E.D. La. 2003); United States
        Fidelity & Guar. Co. v. Hathaway, 394 S.E.2d 764, 767-768 (W.Va. 1990); Unisys Corp. v. Legal Counsel,
        Inc., 768 F.Supp. 6, 8 (Dist. D.C. 1991).

 III. TIDEWATER ITSELF HAS ARGUED IT SHOULD BE RELEASED FROM CONTRACTUAL OBLIGATIONS
                       DUE TO NON-PERFORMANCE BY THE OTHER PARTY

In response to another pending motion, TIDEWATER strongly relied upon the Landry v. Oceanic Contractors,
Inc.[FN13] decision. Of interest, the predecessor company of TIDEWATER, Tidex,[FN14] therein argued that the party
with which it contracted, Oceanic, breached the contract by using a vessel it had bareboat chartered for purposes
other than those contemplated by the agreement.

        FN13. 731 F.2d 299 (5th Cir. 1984).

        FN14. See Louisiana Secretary of State database printout, attached hereto as Exhibit “W.”

According to Tidex TIDEWATER its contractual obligation to provide insurance coverage for Oceanic was nullified
by Oceanic's breach. TIDEWATER's contention here, that it had no obligation to comply with its contractual under-
takings before indemnity might be sought against BAKER, is thereby directly in conflict with the position taken by
TIDEWATER in the Landry case.[FN15] If TIDEWATER sought relief from its contractual obligations after breach
by the other party there, TIDEWATER should not be heard to call for denial of such relief to BAKER here, where
TIDEWATER itself is guilty of such a breach. Clearly then, TIDEWATER's attempts to argue that performance of
its end of the bargain is irrelevant should be rejected.

        FN15. Tidex there was found to have waived its right to complain about the breach as it failed to make use
        of a protest clause in the contract and more importantly by continuing to accept performance from Oceanic
        with knowledge that the contract had been breached. 731 F.2d 299, 303-304.

                                                IV. CONCLUSION

The Blanket Time Charter simply cannot be read to absolve Tidewater of any obligation to maintain the REPUBLIC
TIDE in a seaworthy condition, especially when TIDEWATER has tried to avoid contractual obligations itself when
the other party to its contract breached its obligations. To permit this would be to adopt a rule allowing the indem-
nitee to willy-nilly increase the scope of the indemnitor's indemnity obligation with no risk whatsoever.

The Fifth Circuit in Marquette acknowledged compliance with warranties is a prerequisite to recovering indemnity,
notwithstanding the distinguishable Fontenot decision. The fact remains that TIDEWATER did not comply with its
SIP procedures, breaching its contractual warranties and entitling BAKER to Summary Judgment dismissing their
claims and those of TIDEWATER's UNDERWRITERS for indemnity. At the very least, Tidewater's breach of its
duty to provide and maintain a seaworthy vessel presents an issue for the Court to consider as fact-finder at the De-
cember trial.

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